                     EXHIBIT A




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                                     December 16, 2020

VIA FEDEX
Board of Directors of Brookdale Senior Living
Inc. c/o Guy P. Sansone
Chairman of the Board
Brookdale Senior Living Inc.
111 Westwood Place, Suite 400
Brentwood, TN 37027


              Re:    Stockholder Demand Pursuant to Del. Ct. Ch. R. 23.1

Dear Mr. Sansone and members of the Board of Directors:

        The below firms represent Stefanie Anders (the “Stockholder”), a current stockholder of
Brookdale Senior Living Inc. (“Brookdale” or the “Company”). Pursuant to Del. Ct. Ch. R. 23.1,
we write on behalf of the Stockholder to demand that the Company’s Board of Directors (the
“Board”) take action to remedy breaches of fiduciary duties by certain current and/or former
directors and executive officers of the Company, including but not limited to the following
executive officers and/or directors of the Company, who are referred to herein as “Management.”

       •      Lucinda M. Baier (“Baier”) has served as Brookdale’s President and CEO and as
              a Company director since February 2018. Previously, Baier served as Brookdale’s
              CFO from December 2015 until February 2018. According to the Company’s
              Schedule 14A filed with the SEC on May 18, 2020 (the “2020 Proxy Statement”),
              on May 11, 2020, Baier beneficially owned 252,154 shares of the Company’s
              common stock which represented less than 1% of the Company’s outstanding
              shares of common stock as of that date. Given that the price per share of the
              Company’s common stock at the close of trading on May 11, 2020 was $2.95, Baier
              owned over $743,854 worth of Brookdale stock as of that date. For the fiscal year
              ended December 31, 2019, Baier received $6,350,901 in compensation from the



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         Company. This included $910,000 in salary, $4,773,420 in stock awards, $657,295
         in non-equity incentive plan compensation, and $10,186 in all other compensation.
         For the fiscal year ended December 31, 2018, Baier received $4,674,255 in
         compensation from the Company. This included $782,248 in salary, $50,000 in
         bonus, $3,551,872 in stock awards, $281,023 in non-equity incentive plan
         compensation, and $9,112 in all other compensation. For the fiscal year ended
         December 31, 2017, Baier received $2,407,188 in compensation from the
         Company. This included $550,000 in salary, $1,500,013 in stock awards, $196,150
         in non-equity incentive plan compensation, and $161,025 in all other
         compensation. For the fiscal year ended December 31, 2016, Baier received
         $2,492,367 in compensation from the Company. This included $552,115 in salary,
         $1,500,005 in stock awards, $222,750 in non-equity incentive plan compensation,
         and $217,497 in all other compensation.

   •     T. Andrew Smith (“Smith”) served as the Company’s CEO from February 2013,
         as President from March 2016, and as a Company director from June 2014 until he
         resigned from all of his positions with the Company on February 28, 2018.
         Previously, he had served as Executive Vice President, General Counsel, and
         Secretary from October 2006 until February 2013. For the fiscal year ended
         December 31, 2018, Smith received $2,709,314 in compensation from the
         Company. This included $157,115 in salary and $2,552,199 in all other
         compensation. For the fiscal year ended December 31, 2017, Smith received
         $1,315,829 in compensation from the Company. This included $950,000 in salary,
         $356,709 in non-equity incentive plan compensation, and $9,120 in all other
         compensation. For the fiscal year ended December 31, 2016, Smith received
         $6,608,594 in compensation from the Company. This included $953,654 in salary,
         $5,225,007 in stock awards, $418,594 in non-equity incentive plan compensation,
         and $11,339 in all other compensation.

   •     Steven E. Swain (“Swain”) has served as the Company’s CFO since
         September 2018. According to the 2020 Proxy Statement, on May 11, 2020, Swain
         beneficially owned 22,659 shares of the Company’s common stock which
         represented less than 1% of the Company’s outstanding shares of common stock as
         of that date. Given that the price per share of the Company’s common stock at the
         close of trading on May 11, 2020 was $2.95, Swain owned over $66,844 worth of
         Brookdale stock as of that date. For the fiscal year ended December 31, 2019,
         Swain received $2,117,449 in compensation from the Company. This included
         $515,000 in salary, $1,306,414 in stock awards, $275,545 in non-equity incentive
         plan compensation, and $20,490 in all other compensation. For the fiscal year
         ended December 31, 2018, Swain received $1,272,135 in compensation from the
         Company. This included $161,538 in salary, $100,000 in bonus, $802,324 in stock
         awards, $46,038 in non-equity incentive plan compensation, and $162,235 in all
         other compensation.

   •     Marcus E. Bromley (“Bromley”) has served as a Company director since
         July 2017. He also serves as a member of the Audit Committee and as a member
         of the Investment Committee. According to the 2020 Proxy Statement, on May 11,


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         2020, Bromley beneficially owned 75,171 shares of the Company’s common stock
         which represented less than 1% of the Company’s outstanding shares of common
         stock as of that date. Given that the price per share of the Company’s common
         stock at the close of trading on May 11, 2020 was $2.95, Bromley owned over
         $221,754 worth of Brookdale stock as of that date. For the fiscal year ended
         December 31, 2019, Bromley received $256,995 in compensation from the
         Company. This included $157,000 in fees earned and cash paid and $99,995 in
         stock awards. For the fiscal year ended December 31, 2018, Bromley received
         $230,831 in compensation from the Company. This included $187,000 in fees
         earned and cash paid and $43,831 in stock awards. For the fiscal year ended
         December 31, 2017, Bromley received $203,472 in compensation from the
         Company. This included $103,478 in fees earned and cash paid and $99,993 in
         stock awards.

   •     Frank M. Bumstead (“Bumstead”) has served as a Company director since
         August 2006. He also serves as the Chair of the Compensation Committee and as
         a member of the Nominating and Corporate Governance Committee. According to
         the 2020 Proxy Statement, on May 11, 2020, Bumstead beneficially owned 300,224
         shares of the Company’s common stock which represented less than 1% of the
         Company’s outstanding shares of common stock as of that date. Given that the
         price per share of the Company’s common stock at the close of trading on May 11,
         2020 was $2.95, Bumstead owned over $885,660 worth of Brookdale stock as of
         that date. For the fiscal year ended December 31, 2019, Bumstead received
         $289,995 in compensation from the Company. This included $190,000 in fees
         earned and cash paid and $99,995 in stock awards. For the fiscal year ended
         December 31, 2018, Bumstead received $315,994 in compensation from the
         Company. This included $216,000 in fees earned and cash paid and $99,994 in
         stock awards. For the fiscal year ended December 31, 2017, Bumstead received
         $379,992 in compensation from the Company. This included $280,000 in fees
         earned and cash paid and $99,992 in stock awards. For the fiscal year ended
         December 31, 2016, Bumstead received $320,995 in compensation from the
         Company. This included $221,000 in fees earned and cash paid and $99,995 in
         stock awards.

   •     Jackie M. Clegg (“Clegg”) served as a Company director from November 2005
         until October 29, 2019. She also served as the Chair of the Nominating and
         Corporate Governance Committee and as a member of the Compensation
         Committee and as a member of the Audit Committee. For the fiscal year ended
         December 31, 2019, Clegg received $349,047 in compensation from the Company.
         This included $249,052 in fees earned and cash paid and $99,995 in stock awards.
         For the fiscal year ended December 31, 2018, Clegg received $322,994 in
         compensation from the Company. This included $223,000 in fees earned and cash
         paid and $99,994 in stock awards. For the fiscal year ended December 31, 2017,
         Clegg received $390,992 in compensation from the Company. This included
         $291,000 in fees earned and cash paid and $99,992 in stock awards. For the fiscal
         year ended December 31, 2016, Clegg received $339,995 in compensation from the



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         Company. This included $240,000 in fees earned and cash paid and $99,995 in
         stock awards.

   •     Daniel A. Decker (“Decker”) served as Executive Chairman of the Board from
         November 1, 2016 until he resigned effective March 1, 2018. Previously, he served
         as Non-Executive Chairman of the Board from October 2015 until October 31,
         2016. He also served as a member of the Investment Committee. For the fiscal
         year ended December 31, 2018, Decker received $221,656 in compensation from
         the Company. This included $138,077 in fees earned and cash paid, $80,047 in
         stock awards, and $3,532 in all other compensation. For the fiscal year ended
         December 31, 2017, Decker received $705,966 in compensation from the
         Company. This included $687,500 in fees earned and cash paid and $18,466 in all
         other compensation. For the fiscal year ended December 31, 2016, Decker received
         $1,082,164 in compensation from the Company. This included $479,167 in fees
         earned and cash paid, $591,313 in stock awards, and $11,685 in all other
         compensation.

   •     Rita Johnson-Mills (“Johnson-Mills”) has served as a Company director since
         August 2018. She also serves as the Chair of the Nominating and Corporate
         Governance Committee and as a member of the Investment Committee. According
         to the 2020 Proxy Statement, on May 11, 2020, Johnson-Mills beneficially owned
         41,907 shares of the Company’s common stock which represented less than 1% of
         the Company’s outstanding shares of common stock as of that date. Given that the
         price per share of the Company’s common stock at the close of trading on May 11,
         2020 was $2.95, Johnson-Mills owned over $123,625 worth of Brookdale stock as
         of that date. For the fiscal year ended December 31, 2019, Johnson-Mills received
         $211,976 in compensation from the Company. This included $170,609 in fees
         earned and cash paid and $41,367 in stock awards. For the fiscal year ended
         December 31, 2018, Johnson-Mills received $155,024 in compensation from the
         Company. This included $55,033 in fees earned and cash paid and $99,991 in stock
         awards.

   •     Jeffrey R. Leeds (“Leeds”) served as a Company director from November 2005
         until his resignation effective October 4, 2018. He also served as Non-Executive
         Chairman of the Board from June 2012 until September 2015. Leeds also served
         as a member of the Compensation Committee, as a member of the Audit
         Committee, and as a member of the Nominating and Corporate Governance
         Committee. For the fiscal year ended December 31, 2018, Leeds received $273,081
         in compensation from the Company. This included $173,087 in fees earned and
         cash paid and $99,994 in stock awards. For the fiscal year ended December 31,
         2017, Leeds received $373,992 in compensation from the Company. This included
         $274,000 in fees earned and cash paid and $99,992 in stock awards.

   •     Mark J. Parrell (“Parrell”) served as a Company director from April 2015 until
         his resignation effective July 24, 2017 at the Company’s annual meeting. He also
         served as a member of the Audit Committee and Investment Committee. For the
         fiscal year ended December 31, 2017, Parrell received $213,514 in compensation


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         from the Company. This included $113,522 in fees earned and cash paid and
         $99,992 in stock awards. For the fiscal year ended December 31, 2016, Parrell
         received $259,306 in compensation from the Company. This included $190,000 in
         fees earned and cash paid and $69,306 in stock awards.

   •     William G. Petty, Jr. (“Petty”) served as a Company director from
         December 2014 until his resignation effective February 21, 2018. He also served
         as the Chair of the Investment Committee and as a member of the Nominating and
         Corporate Governance Committee. For the fiscal year ended December 31, 2018,
         Petty received $115,883 in compensation from the Company. This included
         $15,889 in fees earned and cash paid and $99,994 in stock awards. For the fiscal
         year ended December 31, 2017, Petty received $214,992 in compensation from the
         Company. This included $115,000 in fees earned and cash paid and $99,992 in
         stock awards. For the fiscal year ended December 31, 2016, Petty received
         $308,995 in compensation from the Company. This included $209,000 in fees
         earned and cash paid and $99,995 in stock awards.

   •     Guy P. Sansone (“Sansone”) has served as a Company director since
         October 2019 and as Non-Executive Chairman of the Board since January 2020.
         According to the 2020 Proxy Statement, on May 11, 2020, Sansone beneficially
         owned 2,491 shares of the Company’s common stock which represented less than
         1% of the Company’s outstanding shares of common stock as of that date. Given
         that the price per share of the Company’s common stock at the close of trading on
         May 11, 2020 was $2.95, Sansone owned over $7,348 worth of Brookdale stock as
         of that date. For the fiscal year ended December 31, 2019, Sansone received
         $120,387 in compensation from the Company. This included $20,391 in fees
         earned and cash paid and $99,996 in stock awards.

   •     James R. Seward (“Seward”) served as a Company director from November 2008
         until his resignation effective October 29, 2019. He also served as a member of the
         Audit Committee as the Chair of the Investment Committee. For the fiscal year
         ended December 31, 2019, Seward received $327,403 in compensation from the
         Company. This included $227,408 in fees earned and cash paid and $99,995 in
         stock awards. For the fiscal year ended December 31, 2018, Seward received
         $326,161 in compensation from the Company. This included $226,167 in fees
         earned and cash paid and $99,994 in stock awards. For the fiscal year ended
         December 31, 2017, Seward received $367,159 in compensation from the
         Company. This included $267,167 in fees earned and cash paid and $99,992 in
         stock awards. For the fiscal year ended December 31, 2016, Seward received
         $309,995 in compensation from the Company. This included $210,000 in fees
         earned and cash paid and $99,995 in stock awards.

   •     Denise W. Warren (“Warren”) has served as a Company director since
         October 2018. She also serves as the Chair of the Audit Committee and as a
         member of the Compensation Committee. According to the 2020 Proxy Statement,
         on May 11, 2020, Warren beneficially owned 48,606 shares of the Company’s
         common stock which represented less than 1% of the Company’s outstanding


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               shares of common stock as of that date. Given that the price per share of the
               Company’s common stock at the close of trading on May 11, 2020 was $2.95,
               Warren owned over $143,387 worth of Brookdale stock as of that date. For the
               fiscal year ended December 31, 2019, Warren received $196,882 in compensation
               from the Company. This included $172,500 in fees earned and cash paid and
               $24,382 in stock awards. For the fiscal year ended December 31, 2018, Warren
               received $132,181 in compensation from the Company. This included $32,185 in
               fees earned and cash paid and $99,996 in stock awards.

       •       Lee S. Wielansky (“Wielansky”) has served as a Company director since
               April 2015. He also serves as the Chair of the Investment Committee and as a
               member of the Audit Committee. Previously, he served as the Non-Executive
               Chairman of the Board from February 2018 until December 31, 2019. He also
               served as a member of the Compensation Committee. According to the 2020 Proxy
               Statement, on May 11, 2020, Wielansky beneficially owned 101,338 shares of the
               Company’s common stock which represented less than 1% of the Company’s
               outstanding shares of common stock as of that date. Given that the price per share
               of the Company’s common stock at the close of trading on May 11, 2020 was $2.95,
               Wielansky owned over $298,947 worth of Brookdale stock as of that date. For the
               fiscal year ended December 31, 2019, Wielansky received $506,604 in
               compensation from the Company. This included $406,609 in fees earned and cash
               paid and $99,995 in stock awards. For the fiscal year ended December 31, 2018,
               Wielansky received $553,577 in compensation from the Company. This included
               $453,583 in fees earned and cash paid and $99,994 in stock awards. For the fiscal
               year ended December 31, 2017, Wielansky received $361,992 in compensation
               from the Company. This included $262,000 in fees earned and cash paid and
               $99,992 in stock awards. For the fiscal year ended December 31, 2016, Wielansky
               received $274,306 in compensation from the Company. This included $205,000 in
               fees earned and cash paid and $69,306 in stock awards.

       •       Victoria L. Freed (“Freed”) has served as a Company director since
               October 2019. She also serves as a member of the Compensation Committee and
               as a member of the Nominating and Corporate Governance Committee. According
               to the 2020 Proxy Statement, on May 11, 2020, Freed beneficially owned 2,491
               shares of the Company’s common stock which represented less than 1% of the
               Company’s outstanding shares of common stock as of that date. Given that the
               price per share of the Company’s common stock at the close of trading on May 11,
               2020 was $2.95, Freed owned over $7,348 worth of Brookdale stock as of that date.
               For the fiscal year ended December 31, 2019, Freed received $124,387 in
               compensation from the Company. This included $24,391 in fees earned and cash
               paid and $99,996 in stock awards.

        As you are aware, by reason of their positions as officers and/or directors of Brookdale and
because of their ability to control the business and corporate affairs of Brookdale, members of
Management owed and owe Brookdale and its stockholders the fiduciary obligations of good faith,
loyalty, and due care. Management was and is required to use its utmost ability to control and
manage Brookdale in a fair, just, and honest manner in compliance with all applicable federal,


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state, and local laws, rules, and regulations. Similarly, Management was and is required to remain
informed as to how the Company conducts its business and affairs, and upon notice or information
of imprudent, illegal, or unsound conditions, policies, or practices, make reasonable inquiry in
connection therewith, and take steps to correct such conditions, policies, or practices, and, if
necessary, make such disclosures as necessary to comply with all applicable laws. The
Stockholder believes that Management has violated these core fiduciary duty principles causing
Brookdale to suffer damages. More specifically, the Stockholder believes that Management
purposefully understaffed its senior living communities in order to bolster the Company’s financial
metrics and enrich members of Management, which subjected the Company to an increased risk
of litigation and was foreseeably likely to have a material, negative impact on the Company’s
financial results and reputation.

I.       FACTUAL BACKGROUND1

         A.      Company Background

        Brookdale is headquartered in Brentwood, Tennessee. According to its public filings,
Brookdale is the nation’s largest senior-living community operator, with $4 billion in reported
revenue in 2019 alone. As of February 1, 2020, Brookdale owned 356 communities, leased
307 communities, managed 77 communities on behalf of third parties, and three communities for
which it has an equity interest. The Company operates independent living, assisted living,
dementia-care communities, and continuing care retirement centers (“CCRCs”). Through its
ancillary services programs, the Company also offers a range of outpatient therapy, home health,
personalized living and hospice services.

        Brookdale’s ascension to its position as the largest senior-living community operator in the
United States was solidified by: (1) its acquisition of Horizon Bay, the then-ninth largest operator
of senior living communities in the United States, on September 1, 2011, and (2) its acquisition by
merger of Emeritus Corporation, the then-second largest operator of senior living communities in
the United States, for $2.8 billion on July 31, 2014.

         According to representations made by Brookdale in annual filings with the United States
Security and Exchange Commission (“SEC”) between 2014 and 2018, Brookdale’s aggressive
growth and purchase strategy required massive financing and infusions of cash. As a result,
Brookdale shackled itself with enormous loan obligations, debt, and lease obligations to financing
institutions and real estate investment companies.

        To secure such significant loans, financing agreements, and lease contracts, Brookdale
agreed to designate profit and financial performance thresholds for its assisted living facilities both
on an individual basis and on a consolidated, portfolio-wide and multi-community basis, as stated
in Brookdale 10-K filings with the SEC between 2014 and 2018:

         Our outstanding indebtedness and leases contain restrictions and covenants and
         require us to maintain or satisfy specified financial ratios and coverage tests,
         including maintaining prescribed net worth levels, leverage ratios and debt service

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    All emphasis is added unless otherwise noted.


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       and lease coverage ratios on a consolidated basis, and on a community or
       communities basis based on the debt or lease securing the communities. In addition,
       certain of our leases require us to maintain lease coverage ratios on a lease portfolio
       basis (each as defined in the leases) and maintain stockholders’ equity or tangible
       net worth amounts.

                                          *       *       *

       Certain of our debt and lease documents contain restrictions and financial
       covenants, such as those requiring us to maintain prescribed minimum net worth
       and stockholders’ equity levels and debt service and lease coverage ratios, and
       requiring us not to exceed prescribed leverage ratios, in each case on a consolidated,
       portfolio-wide, multi-community, single-community and/or entity basis.

                                          *       *       *
       We operate certain of our communities pursuant to management agreements. In
       some cases, subject to our rights, if any, to cure deficiencies, community owners
       may terminate us as manager if . . . we do not satisfy certain designated performance
       thresholds.

        In addition, Brookdale guaranteed and pledged the individual and aggregate assets and
revenues of its assisted living facilities as collateral for such loan and lease agreements. Therefore,
in order to meet its enormous debt obligations, financial covenants, and financial performance
thresholds and to minimize the risk of defaulting on widespread portions of its portfolio of assisted
living facilities and other communities, Brookdale closely monitored and tightly controlled every
aspect of the operations and management of its assisted living facilities, including the largest line-
item expense—day-to-day staffing.

       B.      Management Regulated Brookdale’s Staffing Needs from Company
               Headquarters, Prohibiting Local Facility-Level Staffing Decision-Making

        Brookdale’s method of determining and limiting staffing levels at its facilities is done via
a staffing algorithm known as its Service Alignment Software. As described by Brookdale, its
Service Alignment Software consists of two main categories of data. First, it includes assumptions
regarding the amount of time required to perform daily living services which are purportedly based
on time studies Brookdale itself conducted; and the aggregate assess care needs of all residents.
Second, the Service Alignment Software consists of algorithms and a source code which “takes
the results of the time studies, as well as the assessed needs of the residents and other parameters
and factors” to set the number of staffing hours on a daily basis. In other words, the Service
Alignment Software determines the number of staffing hours in each of its facilities by multiplying
(1) the aggregate assessed care needs to be delivered by staff to residents by (2) the associated task
times Brookdale claims are required for each assessed care need.

         Brookdale’s design, methodology, and use of its Service Alignment Software are faulty
and flawed. Specifically, because Brookdale’s insufficient staffing is the product of the two
critical variables described in the paragraph above, namely (1) the number and types of services
to be provided to each of its collective resident populations and (2) the time required to deliver



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each type of service, Brookdale reduced either or both of these variables to reduce labor costs and
achieve a staffing output to hit its financial performance thresholds and profit benchmarks. In
other words, Brookdale’s Service Alignment Software systematically underestimates the staffing
needs at each facility by, inter alia, deliberately embedding false and inaccurate assumptions about
the time required to carry out personal need services and/or the amount of services to be provided
to its collective resident populations. Moreover, to accurately and reliably determine the number
of staff and labor time required to deliver services in industries like Brookdale’s, industrial
engineers recognize that certain engineering principles and critical variables must be taken into
account and applied. Plaintiff believes that the Service Alignment Software is also flawed and
faulty because it fails to take into account these engineering principles and critical variables,
thereby resulting in chronically insufficient staffing.

        Indeed, Brookdale’s use of its Service Alignment Software results in willfully and
chronically understaffed facilities. Brookdale purposefully uses its Service Alignment Software
to justify understaffing in order to meet pre-determined labor budgets designed to achieve
corporate profit objectives and predetermined financial performance thresholds. Moreover,
knowing the impact that its understaffing has on the delivery of required services, Brookdale
deliberately fails to properly, accurately, and fully document the services actually provided to its
residents so as to avoid a paper trail that would reveal the extent of the improper conduct.

        Of course, Management maintained the confidentiality of its staffing methods, even from
its own facility-level employees. Indeed, at all relevant times, Brookdale’s staffing decisions were
not made at the facility level, but at the corporate level. From its corporate headquarters in
Brentwood, Tennessee, Brookdale exercised absolute and exclusive control over staffing
determinations at its facilities, monitoring each facility’s staffing and budgetary compliance and
measuring any variance in the corporate determined budget on a frequent or daily basis. Moreover,
Brookdale prohibited its facilities from making staffing decisions at the local level or modifying
Brookdale’s corporate predetermined staffing levels without corporate approval. That is,
executive directors and facility level staff could not modify the corporate-predetermined staffing
levels without express permission from several layers of Brookdale corporate management. Any
such request for permission to modify or customize must be documented.

       Moreover, a majority of Brookdale’s executive and administrative functions are located in
Tennessee, the CEO and Chief Operating Officer, the Company’s Secretary maintain their
principal offices in Tennessee, all of Brookdale’s Executive Vice Presidents are also located in
Tennessee, final decisions regarding the company-wide issues relating to the operations of
Brookdale facilities throughout the nation were made by corporate executives at the Company’s
headquarters in Tennessee.

       The Company’s centralized operation as a single enterprise is further evidenced by
Brookdale’s annual and quarterly reports that Management caused the Company to file with the
SEC, as referenced in detail below. For example, the Company’s annual report for the periods
ended December 31, 2014, December 31, 2015, December 31, 2016, December 31, 2017, and
December 31, 2018 state that “we have and will continue to consolidate corporate functions such
as accounting, finance, human resources, legal, information technology and marketing.”




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       C.      Management Strictly Enforced Its Pre-Determined Staffing Levels

        At all relevant times, Management oversaw, managed, and ultimately dictated the
Company’s operating budgets at each one of Brookdale’s facilities around the country, including
expense limits dedicated to staffing. Indeed, according to the Company’s annual report filed with
the SEC on February 22, 2018 for the quarter and year ended December 31, 2017 on a Form 10-K
“[w]e have implemented intensive standards, policies and procedures and systems, including
detailed staff manuals and training materials, which we believe have contributed to high levels of
customer service. Further, we believe our centralized support infrastructure allows our community-
based leaders and personnel to focus on resident care and family connections. Our operating
procedures include . . . implementing effective budgeting and financial controls at each
community, and establishing standardized training and operations procedures.” The Company’s
annual reports filed with the SEC for the quarter and year ended December 31, 2014, December 31,
2015, and December 31, 2016 contained substantively the same statements.

        Brookdale begins the budgeting process with its corporate financial planning and analysis
team members (“FP&A”), determining and preloading the budgets on its internal server with near
final amounts. Once preloading is complete, each assisted living facility has one week to review
the budget and respond to the Brookdale Regional Vice President, Regional Director of
Operations, and corporate FP&A with comments and any requests for change. The employees
working at each assisted living facility only have read-only access to the budgets, meaning they
cannot change any of the preloaded amounts. All changes and final approval of the budgets are
made by Brookdale.

        At all relevant times, once the budgets have been approved by Brookdale, they are locked
in for the entire year. In addition, the employees working at each assisted living facility are not
able to make changes to the budget.

         Brookdale has strictly enforced its budgets, including the staffing expense limits, at its
facilities through frequent emails, telephone calls, conference calls, and meetings. As alleged in
the Consumer Class Action (defined herein) filed against the Company, the executive directors at
each of Brookdale’s assisted living facilities have been routinely admonished by corporate officers
in emails demanding that: a) they strictly comply with the staffing budget; b) they make reductions
in staffing needed to eliminate budget variances; c) they comply with each facility’s staffing
expense savings commitment; d) they “do a better job managing our labor, as this is by far our
largest expense”; e) they make the necessary adjustments to get staffing within budget or be forced
to make reductions; f) everyone will be held accountable for labor control; g) Brookdale does not
tolerate an assisted living facility running over its approved staffing budget; h) Brookdale
management strenuously emphasizes the importance of managing labor and eliminating overtime,
and i) Brookdale does not tolerate an assisted living facility “dropping the ball” on labor controls.

       To entice its employees to stay at or below Brookdale’s limits for staffing and expenses,
Brookdale also created and implemented lucrative bonus and incentive programs tied to meeting
or exceeding Brookdale’s financial performance targets. These programs provided facility
department heads and Brookdale’s senior management significant bonuses for staying at or below
Brookdale’s budgeted expense limits—the largest of which was staffing.



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       D.      Brookdale’s Form Residency Agreements Misrepresented and Misled
               Potential Residents Regarding Brookdale’s Inhumane Understaffing

        The Company’s standard form Residency Agreements advertise Brookdale’s commitment
to personalized care. Specifically, Brookdale mandates that each of its facilities conduct what
Brookdale refers to as a Personal Service Assessment (“PSA”) upon each resident, which assesses
a resident’s care needs. Afterwards, according to the level of care required, residents are assigned
to one of two “Care Groups”: (1) Choice Personal Services—care includes services related to,
among other things, medication, nutrition, dressing and grooming, showering or bathing, bathroom
assistance, escort, and mobility and service coordination; or (2) Comprehensive Care Options—
care includes services related to, among other things, chronic condition management, respiratory
equipment, nebulizer, nutrition, dressing and grooming needs for residents who cannot stand
upright, bathroom assistance needs for residents who are catheterized, incontinent, or cannot stand
upright, two person or mechanical lifts, cognitive and psychological needs caused by memory loss,
cognitive impairment and dangerous behavior, reluctance to accept care, behavior management,
wound care, smoking assistance, and pet care. In its form contract, Brookdale also pledges to
regularly reassess residents’ the level of care needed to meet their needs.

       Each service need is broken down by particular and granular needs and ascribed a cost.
The Company charges its residents a monthly “Personal Service Rate” in exchange for meeting
the evaluated level of care and specific needs documented in the “Personal Service Plan,” which
includes the “Basic Service Rate” and together with the lesser of: (1) the total cost for meeting
each assessed need with each category; or (2) a “Predictable Maximum Total” the Company
assigns to each Care Group. Personal Service Rates are amended from time to time depending on
re-evaluations of residents’ needs and updates to their Personal Service Plans. According to the
standardized letters the Company sends to Brookdale residents who are subject to rate increases,
the Company attributes the increased rate, in large part, to the increased staffing costs to “take care
of your senior living needs.”

       Further anchoring consumers’ reasonable belief that Brookdale would have staff sufficient
to provide these contracted services was the claim set forth in Brookdale’s uniform Residency
Agreement that “associates are available 24 hours a day, 7 days a week.”

       E.      Brookdale’s Marketing Materials Further Misled Potential Residents
               Regarding the Truth Behind Brookdale’s Abhorrent Care and Services
               Resulting from Its Purposeful Understaffing

        It was not just Brookdale’s form Residency Agreements that misrepresented staffing and
services provided to Brookdale’s residents; the same or similar misrepresentations were contained
in the Company’s marketing materials as well, including the Company’s website, brochures, and
presentations, which induced residents to enter into the Company’s form Residency Agreements.

       For instance, in certain Company presentations available on Brookdale’s social media
platforms, such as a video presentation uploaded to YouTube on December 1, 2017, Brookdale
marketed its senior living facilities to individuals and their families on a promise of tailored
services that meet the individualized and personal needs of residents, and by touting an army of
“passionate associates ready to work for you.”


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       Deliberately woven through the Company’s sales and marketing materials on its website
is language assuring elderly and dependent individuals and their families that caring for and
meeting the needs of residents was of paramount importance to Brookdale. Specifically, the
Company’s website promotes such care:

       •      “At Brookdale, we believe in delivering senior care that’s tailored to you and your
              loved one based on those unique needs and desires. That’s why we provide a
              variety of options. This personalized approach ensures that you and your family
              get exactly what you need without paying for what you don’t.”

       •      “[W]e make every effort to ease your loved one into a comfortable and enjoyable
              lifestyle, offering individually tailored personal care options to perfectly suit their
              needs.”

       •      “Your health is our top priority, and we have programs in place to help you
              maintain and stay on top of your health. Here are some care services you’d likely
              find at our assisted living communities: A personalized service assessment and
              plan where we evaluate your individual needs and then create a custom care plan
              tailored to you.”

       •      “Brookdale will assess your needs and help you chose the services you need.”

       •      “Our trained caregivers provide attention and assistance with medication support,
              bathing, dressing, cooking and other tasks throughout the day. Our staff will also
              coordinate services with outside healthcare providers and monitor residents to
              ensure they are healthy. So your loved one gets the care they need while enjoying
              the quality of life they’ve earned.”

       •      “Trained caregivers provide assisted living care by providing assistance with
              medication management, activities of daily living, engaging programming, and
              coordination with outside healthcare providers.”

       •      “At an assisted living community, caring staff members are available to help them
              accomplish these tasks, making life a lot easier than if they were living alone. This
              service provides peace of mind for them, as well as you. There’s no need to take a
              chance on their health and safety, because our team of medical professionals can
              lend the right level of support that they need throughout the day.”

       •      “The Brookdale approach provides services that are tailored to each individual’s
              unique needs, a way of life created to enrich the lives of others – with compassion,
              respect, excellence and integrity. In this way, we can make daily life easier for our
              residents, by offering the desired service and care as their needs and preferences
              dictate. By customizing personal care offerings for the individual, we help to ease
              assisted living residents through lifestyle transitions that complement their vision
              for all the places they would still like their lives to go.”




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       •       “At Brookdale, we are committed to listening to your needs, understanding the life
               you want for yourself or your loved one, and then partnering with you to customize
               a solution for all the places you still want your life to go.”

       •       “The first step towards determining the right senior living option is to understand
               you and your family’s needs.”

       •       “[We] cannot provide exceptional care and service until we find out exactly what
               it is that your loved one needs.”

       •       “We start with a detailed assessment, listing the specifics of your loved one’s level
               of care.”

       Brookdale’s website also advertised that the Company would “[r]ecognize and [i]ntegrate”
the results of each resident’s Personal Service Assessment by ensuring that Brookdale’s
“professional staff is trained to recognize the specific needs . . . of each individual” and that a
“continuous assessment process” “ensures” the Company would be able to satisfy its residents’
care needs.

         Moreover, certain of the Company’s marketing materials advertised that at Brookdale
facilities:

       Carefully selected and trained associates do more than assist with activities of
       daily living such as dressing, bathing and dispensing of medications; they
       implement custom care plans designed to meet the individual needs of each
       resident … It all begins with a Personal Service Assessment. We take the time to
       listen to our residents so that we understand how to establish clinical, dining and
       program support that works for them in a meaningful way. We recognize their
       individual needs and preferences and respond to them accordingly.

       Additionally, the Company proclaimed that it:

       [p]rovide[s] customized care solutions to meet residents’ unique needs and
       complement their vision for all the places they would still like their lives to go.
       From our trained staff to our wide variety of amenities and activities, we strive to
       offer personalized care and exceptional service at competitive and affordable
       rates. Fees for care and services are based on each resident’s needs and
       preferences, as determined by the Living Accommodation selected and their
       Personal Service Plan.

       F.      Management Intentionally Understaffed Its Facilities, Sacrificing Care for
               Profit, and Actively Concealed this Misconduct

         At all relevant times, Management caused the Company to fail to provide adequate staffing
at its facilities, and as such, despite its representations of “tailored” and “customized” “exceptional
care and service,” Management caused the Company to routinely fail to satisfy residents’ needs as
determined by the PSA, and thus violate the terms of the Company’s form Residency Agreements,
as well as various other state laws and regulations.


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        Specifically, to avoid systemic defaults on the Company’s massive debt and lease
obligations, as detailed herein, Management caused the Company to set staffing figures, including
the amount of time estimated to fulfill certain tasks and levels of care, greatly beneath the actual
required duration. As a result, the collective amount of labor time required to deliver the daily
services for Brookdale’s resident population exceeded the daily amount of staff time the Company
allotted to its facilities. Moreover, to ensure staffing costs would not rise, Management caused the
Company to assert tight control over the facility staffing and adopt a policy that precluded local
facility-level employees from adjusting staffing, or critical factors and data that was entered into
the Company’s Service Alignment Software (such as, task counts, task times, logic algorithms,
and source code), based upon known staffing demands to meet the daily care needs of Brookdale’s
residents. Furthermore, the Company itself failed to appropriately adjust staffing despite the fact
that Management knew Brookdale’s staffing figures were inadequate to meet residents’ assessed
care needs, Brookdale’s contractual obligations, and to comply with adult care home laws, rules,
and regulations.

        This misconduct resulted in extreme wait times for service care needs that were already
paid for and worse still, subjected dependent, disabled, and/or vulnerable residents to the risk of
actual service deprivations. As a result, Management’s misconduct violated state laws and
regulations and exposed the Company to a substantially increased risk of litigation.

        Despite receiving a wave of complaints arising out of the Company’s purposeful
understaffing of its facilities from Brookdale residents, the families of Brookdale residents, and
even Brookdale’s own staff, Management intentionally and knowingly refused to address the well-
founded complaints, continued to engage in or permit the understaffing to continue to occur, failed
to disclose it, and actively concealed it, so that the Company would not default on its massive debt
and lease obligations. Moreover, numerous reports generated by the Company’s own facilities,
corporate audits of each facilities’ performance, and internal emails and communications
demonstrate that Management engaged in or permitted this misconduct.

       G.      Management Issued Numerous Materially False and Misleading Statements

        On August 9, 2016, Brookdale filed its quarterly report for the fiscal quarter ended June 30,
2016 on Form 10-Q (the “2Q16 10-Q”). The 2Q16 10-Q was signed by Baier, and contained
signed certifications pursuant to the Sarbanes Oxley Act of 2002 (“SOX”) by Smith and Baier
attesting to the accuracy of the financial statements contained therein, the disclosure of any
material changes to the Company’s internal controls, and the disclosure of any fraud committed
by the Company, its officers, or its directors. For the quarter, Brookdale reported net loss of
$35.45 million attributable to Company stockholders, or $0.19 per diluted share, on total revenue
of approximately $1.26 billion, compared to a net loss of approximately $84.8 million attributable
to Company stockholders, or $0.46 per diluted share, on total revenue of approximately
$1.24 billion for the same quarter in the prior year. Regarding “Resident Fees” for the second
fiscal quarter, the 2Q16 10-Q also reported, in relevant part, that:

       Resident fee revenue increased $10.6 million, or 1.0%, over the prior year period
       primarily as a result of an increase in the average monthly revenue per unit
       compared to the prior year period. During the current period, revenues grew 1.6%
       at the 933 communities we owned or leased during both full periods with a 3.0%


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       increase in the average monthly revenue per unit (excluding amortization of
       entrance fee revenue).

       Regarding “Facility Operating Expense” for the second fiscal quarter, the 2Q16 10-Q also
reported, in relevant part, that:

       Facility operating expense decreased over the prior year period primarily due to the
       impact of disposition and lease termination activity since the beginning of the prior
       year period and a $13.7 million decrease in insurance expense from changes in
       estimates due to general liability and professional liability and workers
       compensation claims experience. The decrease was partially offset by increases in
       salaries and wages due to wage rate increases.

       Regarding “General and Administrative Expense” for the second fiscal quarter, the 2Q16
10-Q also reported, in relevant part, that:

       General and administrative expense increased $1.2 million, or 1.3%, over the prior
       year period primarily as a result of an increase in salaries and wages due to wage
       rate and bonus accrual increases and an increase in non-cash stock-based
       compensation expense. The increase was partially offset by a decrease in
       integration, transaction, transaction-related and strategic project costs.

        Regarding “Costs Incurred on Behalf of Managed Communities” for the second fiscal
quarter, the 2Q16 10-Q also reported, in relevant part, that:

       Costs incurred on behalf of managed communities increased $6.7 million, or 3.7%,
       primarily due to additional costs incurred on behalf of managed communities
       resulting from increases in salaries and wages and other facility operating expenses
       at the communities operated in both full periods.

         The 2Q16 10-Q also advertised the Company’s supposedly excellent senior living
communities and the services they could provide to customers, stating, “[t]he Company is
committed to providing senior living solutions primarily within properties that are designed,
purpose-built and operated to provide the highest quality service, care and living accommodations
for residents” and that as of June 30, 2016, the Company had “the ability to serve approximately
107,000 residents.” Further, the 2Q16 10-Q stated that the Company offers its residents “access
to a full continuum of services across the most attractive sectors of the senior living industry” and
“a supportive ‘home-like’ setting, assistance with activities of daily living (such as eating, bathing,
dressing, toileting and transferring/walking)[.]” Moreover, the 2Q16 10-Q asserted that “[b]y
providing residents with a range of service options as their needs change,” the Company
“provide[s] greater continuity of care.”

       The 2Q16 10-Q stated, in relevant part, about the Company’s disclosure controls and
procedures:

       Our management, under the supervision of and with the participation of our Chief
       Executive Officer and Chief Financial Officer, has evaluated the effectiveness of
       our disclosure controls and procedures (as such term is defined under Rules 13a-


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       15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as amended) as of
       the end of the period covered by this report. Based on such evaluation, our Chief
       Executive Officer and Chief Financial Officer each concluded that, as of June 30,
       2016, our disclosure controls and procedures were effective.

        The 2Q16 10-Q, stated in relevant part, about the Company’s internal control over financial
reporting:

       There has not been any change in our internal control over financial reporting (as
       such term is defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
       during the fiscal quarter ended June 30, 2016 that has materially affected, or is
       reasonably likely to materially affect, our internal control over financial reporting.

        On November 3, 2016, Brookdale filed its quarterly report for the fiscal quarter ended
September 30, 2016 on Form 10-Q (the “3Q16 10-Q”). The 3Q16 10-Q was signed by Baier, and
contained SOX certifications signed by Smith and Baier attesting to the accuracy of the financial
statements contained therein, the disclosure of any material changes to the Company’s internal
controls, and the disclosure of any fraud committed by the Company, its officers, or its directors.
For the quarter, Brookdale reported net loss of $51.69 million attributable to Company
stockholders, or $0.28 per diluted share, on total revenue of approximately $1.25 billion, compared
to a net loss of approximately $68.22 million attributable to Company stockholders, or $0.37 per
diluted share, on total revenue of approximately $1.24 billion for the same quarter in the prior year.
Regarding “Resident Fees” for the third fiscal quarter, the 3Q16 10-Q also reported, in relevant
part, that:

       Resident fee revenue increased $2.7 million, or 0.3%, over the prior year period
       primarily as a result of an increase in the average monthly revenue per unit
       compared to the prior year period. During the current period, revenues grew 2.0%
       at the 896 communities we owned or leased during both full periods with a 3.2%
       increase in the average monthly revenue per unit (excluding amortization of
       entrance fee revenue). The increase was partially offset by the impact of disposition
       activity since the beginning of the prior year period and a 110 basis point decrease
       in weighted average occupancy in the 896 communities we owned or leased during
       both full periods. The 57 communities disposed of subsequent to the beginning of
       the prior year period, either through sales or lease terminations, generated $15.1
       million of revenue during the current year period compared to $31.5 million of
       revenue in the prior year period.

       Regarding “Facility Operating Expense” for the third fiscal quarter, the 3Q16 10- Q also
reported, in relevant part, that:

       Facility operating expense increased $4.5 million, or 0.6%, over the prior year
       period primarily due to the impact of increases in salaries and wages due to wage
       rate increases. This increase was partially offset by disposition activity, through
       sales and lease terminations, since the beginning of the prior year period and a $13.9
       million decrease in insurance expense from changes in estimates due to general
       liability and professional liability and workers compensation claims experience.


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       The 57 communities disposed of subsequent to the beginning of the prior year
       period, either through sales or lease terminations, incurred $13.0 million of facility
       operating expenses during the current year period compared to $26.8 million of
       facility operating expenses in the prior year period.

        Regarding “General and Administrative Expense” for the third fiscal quarter, the 3Q16 10-
Q also reported, in relevant part, that:

       General and administrative expense decreased $36.1 million, or 36.3%, over the
       prior year period primarily due to a $29.4 million decrease in integration,
       transaction, transaction-related and strategic project costs, a decrease in bonus
       expense and a decrease in stock-based compensation expense.

        Regarding “Costs Incurred on Behalf of Managed Communities” for the third fiscal
quarter, the 3Q16 10-Q also reported, in relevant part, that:

       Costs incurred on behalf of managed communities increased $3.7 million, or 2.0%,
       primarily due to additional costs incurred on behalf of managed communities
       resulting from increases in salaries and wages and other facility operating expenses
       at the communities operated in both full periods.

        The 3Q16 10-Q also advertised the Company’s supposedly excellent senior living
communities and the services they could provide to customers, stating, “ [t]he Company is
committed to providing senior living solutions primarily within properties that are designed,
purpose-built and operated to provide the highest quality service, care and living accommodations
for residents” and that as of September 30, 2016, the Company had “the ability to serve
approximately 105,000 residents.” Further, the 3Q16 10-Q stated that the Company offers its
residents “access to a full continuum of services across the most attractive sectors of the senior
living industry” and “a supportive home-like setting, assistance with activities of daily living (such
as eating, bathing, dressing, toileting and transferring/walking)[.]” Moreover, the 3Q16 10-Q
asserted that “[b]y providing residents with a range of service options as their needs change,” the
Company “provide[s] greater continuity of care.”

       The 3Q16 10-Q stated, in relevant part, about the Company’s disclosure controls and
procedures:

       Our management, under the supervision of and with the participation of our Chief
       Executive Officer and Chief Financial Officer, has evaluated the effectiveness of
       our disclosure controls and procedures (as such term is defined under Rules 13a-
       15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as amended) as of
       the end of the period covered by this report. Based on such evaluation, our Chief
       Executive Officer and Chief Financial Officer each concluded that, as of September
       30, 2016, our disclosure controls and procedures were effective.

        The 3Q16 10-Q, stated in relevant part, about the Company’s internal control over financial
reporting:




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       There has not been any change in our internal control over financial reporting (as
       such term is defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
       during the fiscal quarter ended September 30, 2016 that has materially affected, or
       is reasonably likely to materially affect, our internal control over financial
       reporting.

        On February 15, 2017, the Company filed its annual report with the SEC announcing its
financial and operating results for the quarter and year ended December 31, 2016 on a Form 10-K
(the “2016 10-K”). The 2016 10-K was signed by Baier, Smith, Bumstead, Clegg, Decker, Leeds,
Parrell, Petty, Seward, and Wielansky, and contained certifications pursuant to Rule 13a-14(a) and
15d-14(a) under the Securities and Exchange Act of 1934 (“Exchange Act”) and SOX signed by
Smith and Baier attesting to the accuracy of the financial statements contained therein, the
disclosure of any material changes to the Company’s internal controls, and the disclosure of any
fraud committed by the Company, its officers, or its directors.

        For the 2016 fiscal year, the Company reported a net loss of $404.4 million attributable to
Company stockholders, or $2.18 per diluted share, on total revenue of $4.98 billion, compared to
a net loss of $457.5 million attributable to Company stockholders, or $2.48 per diluted share, on
total revenue of $4.96 billion for the prior year.

        Regarding “Resident Fees” for the full fiscal year ended December 31, 2016, the 2016 10-
K also reported, in relevant part, that:

       Resident fee revenue decreased $8.5 million, or (0.2)%, compared to the prior year
       primarily due to disposition activity, through sales and lease terminations, since the
       beginning of the prior year and a 130 basis point decrease in occupancy at the 876
       communities we owned or leased during both full periods. The decrease in resident
       fees was partially offset by a 3.1% increase in RevPOR at these communities
       compared to the prior year. Total RevPAR for the consolidated portfolio also
       increased by 3.0% compared to the prior year. The 81 communities disposed of
       subsequent to the beginning of the prior year generated $126.2 million of revenue
       during 2016 compared to $202.0 million of revenue in the prior year.

       Regarding “Facility Operating Expense” for the full fiscal year ended December 31, 2016,
the 2016 10-K also reported, in relevant part, that:

       Facility operating expense increased $10.5 million, or 0.4%, over the prior year
       primarily due to a $46.5 million increase in salaries and wages due to wage rate
       increases at the 876 communities we owned or leased during both full periods and
       $18.4 million of expense increases for our ancillary services in connection with
       higher home health and hospice average daily census. This increase was partially
       offset by disposition activity, through sales and lease terminations, since the
       beginning of the prior year and a $35.4 million decrease in insurance expense from
       changes in estimates due to general liability and professional liability and workers
       compensation claims experience. The 81 communities disposed of subsequent to
       the beginning of the prior year, either through sales or lease terminations, incurred




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       $99.6 million of facility operating expenses during 2016 compared to $164.5
       million of facility operating expenses in the prior year.

       Regarding the Company’s “General and Administrative Expense” for the full fiscal year
ended December 31, 2016, the 2016 10-K also reported, in relevant part, that:

       General and administrative expense decreased $57.2 million, or 15.4%, over the
       prior year primarily due to a $61.5 million decrease in integration, transaction-
       related and strategic project costs.

                                          *       *       *

       This decrease was partially offset by an increase in salaries and wages due to wage
       rate increases.

         Regarding the Company’s “Costs Incurred on Behalf of Managed Communities” for the
full fiscal year ended December 31, 2016, the 2016 10-K also reported, in relevant part, that:

       Costs incurred on behalf of managed communities increased $14.3 million, or
       2.0%, primarily due to additional costs incurred on behalf of managed communities
       resulting from increases in salaries and wages and other facility operating expenses
       at the communities operated in both full years.

         Like the 2Q16 10-Q, the 2016 10-K also flaunted the Company’s purportedly first-rate
services and facilities, stating, “ [t]he Company is committed to providing senior living solutions
primarily within properties that are designed, purpose-built and operated to provide the highest
quality service, care and living accommodations for residents” and that as of December 31, 2016,
the Company had “the ability to serve approximately 103,000 residents.” Further, the 2Q16 10-Q
stated that the Company offers its residents “access to a full continuum of services across the most
attractive sectors of the senior living industry” and “a supportive home-like setting, assistance with
activities of daily living (such as eating, bathing, dressing, toileting and transferring/walking)[.]”
Moreover, the 2Q16 10-Q asserted that “[b]y providing residents with a range of service options
as their needs change,” the Company “provide[s] greater continuity of care.”

       Regarding the Company’s “Operations,” the 2016 10-K stated:

       We have implemented intensive standards, policies and procedures and systems,
       including detailed staff manuals and training materials, which we believe have
       contributed to high levels of customer service. We have centralized accounting,
       finance and other operating functions in our support centers so that, consistent
       with our operating philosophy, community-based personnel can focus on resident
       care, family connections and efficient operations. Our operating procedures
       include securing national vendor contracts to obtain lower pricing for certain
       services such as food, energy and insurance, implementing effective budgeting and
       financial controls at each community, and establishing standardized training and
       operations procedures. We have also established company-wide policies and
       procedures relating to, among other things: resident care; community design and
       community operations; billing and collections; accounts payable; finance and


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       accounting; risk management; development of employee training materials and
       programs; marketing activities; the hiring and training of management and other
       community-based personnel; compliance with applicable local and state
       regulatory requirements[.]

       Regarding “Community Staffing and Training” the 2016 10-K stated, in relevant part, the
following:

       Each community has an Executive Director responsible for the overall day-to-day
       operations of the community, including quality of care and service, social services
       and financial performance.

       And further:

       Depending upon the size of the community, each Executive Director is supported
       by a community staff member who is directly responsible for day-to-day care of the
       residents and either community staff or regional support to oversee the community's
       sales, marketing and community outreach programs. Other key positions
       supporting each community may include individuals responsible for food service,
       healthcare services, therapy services, activities, housekeeping, and engineering.

       We believe that quality of care and operating efficiency can be maximized by direct
       resident and staff contact.

       Regarding “Quality Assurance” the 2016 10-K stated, in relevant part, the following:

       We maintain quality assurance programs at each of our communities through
       our corporate and regional staff. Our quality assurance programs are designed
       to achieve a high degree of resident and family member satisfaction with the care
       and services that we provide. Our quality control measures include, among other
       things, community inspections conducted by corporate staff on a regular basis.
       These inspections cover the appearance of the exterior and grounds; the appearance
       and cleanliness of the interior; the professionalism and friendliness of staff; quality
       of resident care (including assisted living services, nursing care, therapy and home
       health programs); the quality of activities and the dining program; observance of
       residents in their daily living activities; and compliance with government
       regulations. Our quality control measures also include the survey of residents
       and family members on a regular basis to monitor their perception of the quality
       of services provided to residents.

         In the “Risk Factors,” section the 2016 10-K contained nonspecific, boilerplate language
regarding risks related to “[i]ncreases in the cost and availability of labor, including increased
competition for or a shortage of skilled personnel, increased wage pressures or increased union
activity, [which] would have an adverse effect on [the Company’s] business, results of operations
and cash flow.” The risk warnings contained in the 2016 10-K were broad catch-all clauses that
were not designed to disclose the Company’s known risks regarding the Misconduct. Specifically,
the 2016 10-K stated, in pertinent part, that the Company’s “success depends on [Brookdale’s]
ability to retain and attract skilled management personnel who are responsible for the day-to-day


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operations of each of [Brookdale’s] communities”; that “[i]ncreased competition for or a shortage
of nurses, therapists or other trained personnel, or general inflationary pressures may require that
[the Company] enhance [Brookdale’s] pay and benefits package to compete effectively for such
personnel”; that Company has “experienced and may continue to experience wage pressures due
to minimum wage increases mandated by state and local laws and the increase to the salary
thresholds for overtime exemptions under the Fair Labor Standards Act”; that the Company “may
not be able to offset such added costs resulting from competitive, inflationary or regulatory
pressures by increasing the rates [the Company] charge[s] to [Brookdale’s] residents or
[Brookdale’s] service charges, which would negatively impact [the Company’s] results of
operations and cash flow”; that “[t]urnover rates and the magnitude of the shortage of nurses,
therapists or other trained personnel varies substantially from market to market”; that, “[i]f [the
Company] fail[s] to attract and retain qualified and skilled personnel, [Brookdale’s] ability to
conduct [its] business operations effectively, [the Company’s] overall operating results and cash
flow could be harmed”; that “efforts by labor unions to unionize any of [Brookdale’s] community
personnel could divert management attention, lead to increases in [the Company’s] labor costs
and/or reduce [its] flexibility with respect to certain workplace rules”; and that, “[i]f [the
Company] experience[s] an increase in organizing activity, if onerous collective bargaining
agreement terms are imposed upon [Brookdale], or if [Brookdale] otherwise experience[s] an
increase in [its] staffing and labor costs, [the Company’s] results of operations and cash flow would
be negatively affected.”

       The 2016 10-K stated, in relevant part, about the Company’s disclosure controls and
procedures:

       The Company maintains disclosure controls and procedures (as defined under
       Rules 13a-15(e) and 15d-15(e) of the Securities Exchange Act of 1934, as
       amended). Our management, under the supervision of and with the participation of
       our Chief Executive Officer and Chief Financial Officer, has evaluated the
       effectiveness of our disclosure controls and procedures. Based on such evaluation,
       our Chief Executive Officer and Chief Financial Officer each concluded that, as of
       December 31, 2016, our disclosure controls and procedures were effective.

        The 2016 10-K, stated in relevant part, about the Company’s internal control over financial
reporting:

       Our management is responsible for establishing and maintaining adequate internal
       control over financial reporting, as defined in Exchange Act Rule 13a-15(f). Under
       the supervision and with the participation of our management, including our Chief
       Executive Officer and Chief Financial Officer, we conducted an evaluation of the
       effectiveness of our internal control over financial reporting based on the
       framework in Internal Control—Integrated Framework issued by the Committee of
       Sponsoring Organizations of the Treadway Commission (2013 framework).

                                          *      *       *




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       Based on the Company's evaluation, management concluded that our internal
       control over financial reporting was effective as of December 31, 2016.
       Management reviewed the results of their assessment with our Audit Committee.

                                          *       *       *

       There has not been any change in our internal control over financial reporting (as
       such term is defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
       during the fiscal quarter ended December 31, 2016 that has materially affected, or
       is reasonably likely to materially affect, our internal control over financial
       reporting.

        On May 10, 2017, Brookdale filed its quarterly report for the fiscal quarter ended
March 31, 2017 on Form 10-Q (the “1Q17 10-Q”). The 1Q17 10-Q was signed by Baier, and
contained SOX certifications signed by Smith and Baier attesting to the accuracy of the financial
statements contained therein, the disclosure of any material changes to the Company’s internal
controls, and the disclosure of any fraud committed by the Company, its officers, or its directors.
For the quarter, Brookdale reported net loss of $126.3 million attributable to Company
stockholders, or $0.68 per diluted share, on total revenue of approximately $1.22 billion, compared
to a net loss of approximately $48.78 million attributable to Company stockholders, or $0.26 per
diluted share, on total revenue of approximately $1.26 billion for the same quarter in the prior year.

       Regarding “Resident Fees” for the third fiscal quarter, the 1Q17 10-Q also reported, in
relevant part, that:

       Resident fee revenue decreased $44.2 million, or 4.2%, compared to the prior year
       period primarily due to disposition activity, through sales and lease terminations,
       since the beginning of the prior year period. Weighted average occupancy
       decreased 100 basis points at the 816 communities we owned or leased during both
       full periods. Additionally, Brookdale Ancillary Services segment revenue
       decreased $10.2 million, or 8.4%, primarily due to a decrease in outpatient therapy
       service volume. The 59 communities disposed of subsequent to the beginning of
       the prior year period (excluding the 62 communities for which the financial results
       were deconsolidated from our financial statements prospectively upon formation of
       the Blackstone Venture on March 29, 2017) generated $0.7 million of revenue
       during the current year period compared to $43.5 million of revenue in the prior
       year period. The decrease in resident fee revenue was partially offset by a 2.0%
       increase in RevPOR at the 816 communities we owned or operated during both full
       periods compared to the prior year period. Total RevPAR for the consolidated
       portfolio also increased by 0.9% compared to the prior year period. Resident fee
       revenue for the three months ended March 31, 2017 includes $64.0 million of
       revenue for the 62 communities acquired by the Blackstone Venture.

       Regarding “Facility Operating Expense” for the first fiscal quarter, the 1Q17 10-Q also
reported, in relevant part, that:




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       Facility operating expense decreased $41.4 million, or 5.8%, over the prior year
       period primarily due to disposition activity, through sales and lease terminations,
       of 59 communities since the beginning of the prior year period, which incurred $1.3
       million of facility operating expenses during the three months ended March 31,
       2017 compared to $33.8 million of facility operating expenses in the three months
       ended March 31, 2016. Additionally, Brookdale Ancillary Services segment facility
       operating expenses decreased $11.3 million, or 10.5%, primarily due to a decrease
       in outpatient therapy services volume.

        Regarding “General and Administrative Expense” for the first fiscal quarter, the 1Q17 10-
Q also reported, in relevant part, that:

       General and administrative expense decreased $27.1 million, or 29.2%, over the
       prior year period primarily due to a $19.0 million decrease in integration,
       transaction-related and strategic project costs. Integration, transaction-related and
       strategic project costs were $0.2 million during the current period compared to
       $19.1 million in the prior year period. Integration costs for 2016 include transition
       costs associated with organizational restructuring (such as severance and retention
       payments and recruiting expenses), third party consulting expenses directly related
       to the integration of acquired communities (in areas such as cost savings and
       synergy realization, branding and technology and systems work), and internal costs
       such as training, travel and labor, reflecting time spent by Company personnel on
       integration activities and projects. Transaction-related costs for 2016 include third
       party costs directly related to acquisition and disposition activity, community
       financing and leasing activity and corporate capital structure assessment activities
       (including shareholder relations advisory matters), and are primarily comprised of
       legal, finance, consulting, professional fees and other third party costs. Strategic
       project costs for 2016 include costs associated with strategic projects related to
       refining our strategy, building out enterprise-wide capabilities (including EMR roll-
       out project) and reducing costs and achieving synergies by capitalizing on scale.
       Additionally, a reduction in corporate associate headcount resulted in decreased
       salaries and wage expense for the three months ended March 31, 2017.

       Regarding “Costs Incurred on Behalf of Managed Communities” for the first fiscal quarter,
the 1Q17 10-Q also reported, in relevant part, that:

       Costs incurred on behalf of managed communities decreased $1.3 million, or 0.7%,
       primarily due to terminations of management agreements subsequent to the
       beginning of the prior year period.

        The 1Q17 10-Q also advertised the Company’s supposedly excellent senior living
communities and the services they could provide to customers, stating, “ [t]he Company is
committed to providing senior living solutions primarily within properties that are designed,
purpose-built and operated to provide the highest quality service, care and living accommodations
for residents” and that as of September 30, 2016, the Company had “the ability to serve
approximately 103,000 residents.” Further, the 1Q17 10-Q stated that the Company offers its
residents “access to a full continuum of services across the most attractive sectors of the senior


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living industry” and “a supportive home-like setting, assistance with activities of daily living (such
as eating, bathing, dressing, toileting and transferring/walking)[.]” Moreover, the 1Q17 10-Q
asserted that “[b]y providing residents with a range of service options as their needs change,” the
Company “provide[s] greater continuity of care.”

        The “Risk Factors” section of the 1Q17 10-Q stated, “[t]here have been no material changes
to the risk factors set forth in Part I, Item 1A of our Annual Report on Form 10-K for the year
ended December 31, 2016.”

       The 1Q17 10-Q stated, in relevant part, about the Company’s disclosure controls and
procedures:

       Our management, under the supervision of and with the participation of our Chief
       Executive Officer and Chief Financial Officer, has evaluated the effectiveness of
       our disclosure controls and procedures (as such term is defined under Rules 13a-
       15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as amended) as of
       the end of the period covered by this report. Based on such evaluation, our Chief
       Executive Officer and Chief Financial Officer each concluded that, as of March 31,
       2017, our disclosure controls and procedures were effective.

        The 1Q17 10-Q, stated in relevant part, about the Company’s internal control over financial
reporting:

       There has not been any change in our internal control over financial reporting (as
       such term is defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
       during the fiscal quarter ended March 31, 2017 that has materially affected, or is
       reasonably likely to materially affect, our internal control over financial reporting.

        On August 8, 2017, Brookdale filed its quarterly report for the fiscal quarter ended June 30,
2017 on Form 10-Q (the “2Q17 10-Q”). The 2Q17 10-Q was signed by Baier, and contained SOX
certifications signed by Smith and Baier attesting to the accuracy of the financial statements
contained therein, the disclosure of any material changes to the Company’s internal controls, and
the disclosure of any fraud committed by the Company, its officers, or its directors.

        For the quarter, Brookdale reported net loss of $46.29 million attributable to Company
stockholders, or $0.25 per diluted share, on total revenue of approximately $1.19 billion, compared
to a net loss of approximately $35.45 million attributable to Company stockholders, or $0.19 per
diluted share, on total revenue of approximately $1.26 billion for the same quarter in the prior year.

        With respect to “Resident Fees” for the second fiscal quarter, the 2Q17 10-Q also reported,
in relevant part, that:

       Resident fee revenue decreased $120.5 million, or 11.4%, compared to the prior
       year period primarily due to disposition activity, through sales and lease
       terminations, since the beginning of the prior year period. Weighted average
       occupancy decreased 150 basis points at the 818 communities we owned or leased
       during both full periods, primarily due to the impact of new competition in our
       markets. Additionally, Brookdale Ancillary Services segment revenue decreased


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       $13.1 million, or 10.7%, primarily due to decreases in volume for outpatient
       therapy services and home health services. The 130 communities disposed of
       subsequent to the beginning of the prior year period (including the 62 communities
       for which the financial results were deconsolidated from our financial statements
       prospectively upon formation of the Blackstone Venture on March 29, 2017)
       generated $6.3 million of revenue during the current year period compared to
       $116.2 million of revenue in the prior year period. The decrease in resident fee
       revenue was partially offset by a 1.8% increase in RevPOR at the 818 communities
       we owned or operated during both full periods compared to the prior year period.
       Total RevPAR for the consolidated portfolio also increased by 0.9% compared to
       the prior year period.

        With respect to “Facility Operating Expense” for the second fiscal quarter, the 2Q17 10-Q
also reported, in relevant part, that:

       Facility operating expense decreased $50.7 million, or 7.3%, over the prior year
       period primarily due to disposition activity, through sales and lease terminations,
       of 130 communities since the beginning of the prior year period, which incurred
       $7.5 million of facility operating expenses during the three months ended June 30,
       2017 compared to $88.5 million of facility operating expenses in the three months
       ended June 30, 2016. Additionally, Brookdale Ancillary Services segment facility
       operating expenses decreased $7.2 million, or 6.9%, primarily due to decreases in
       volume for outpatient therapy services and home health services. These decreases
       were partially offset by an $11.3 million increase in insurance expense related to
       positive changes in the three months ended June 30, 2016 to estimates in general
       liability and professional liability and workers compensation expenses and an
       increase in salaries and wages arising from wage rate increases at the communities
       we operated during both full periods.

       Regarding “General and Administrative Expense” for the second fiscal quarter, the 2Q17
10-Q also reported, in relevant part, that:

       General and administrative expense decreased $23.6 million, or 26.0%, over the
       prior year period primarily due to a $16.1 million decrease in integration,
       transaction-related and strategic project costs. Integration, transaction-related and
       strategic project costs were $0.6 million during the current period compared to
       $16.7 million in the prior year period. Integration costs for 2016 include transition
       costs associated with organizational restructuring (such as severance and retention
       payments and recruiting expenses), third party consulting expenses directly related
       to the integration of acquired communities (in areas such as cost savings and
       synergy realization, branding and technology and systems work), and internal costs
       such as training, travel and labor, reflecting time spent by Company personnel on
       integration activities and projects. Transaction-related costs for 2016 include third
       party costs directly related to acquisition and disposition activity, community
       financing and leasing activity and corporate capital structure assessment activities
       (including shareholder relations advisory matters), and are primarily comprised of
       legal, finance, consulting, professional fees and other third party costs. Strategic


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       project costs for 2016 include costs associated with strategic projects related to
       refining our strategy, building out enterprise-wide capabilities (including EMR roll-
       out project) and reducing costs and achieving synergies by capitalizing on scale.
       Additionally, a reduction in corporate associate headcount resulted in decreased
       salaries and wage expense for the three months ended June 30, 2017.

        With respect to “Costs Incurred on Behalf of Managed Communities” for the second fiscal
quarter, the 2Q17 10-Q also reported, in relevant part, that:

       Costs incurred on behalf of managed communities increased $43.9 million, or
       23.6%, primarily due to our entry into management agreements with the Blackstone
       Venture.

         The 2Q17 10-Q also advertised the Company’s supposedly excellent senior living
communities and the services they could provide to customers, stating, “ [t]he Company is
committed to providing senior living solutions primarily within properties that are designed,
purpose-built and operated to provide the highest quality service, care and living accommodations
for residents” and that as of June 30, 2017, the Company had “the ability to serve approximately
102,000 residents.” Further, the 2Q17 10-Q stated that the Company offers its residents “access
to a full continuum of services across the most attractive sectors of the senior living industry” and
“a supportive home-like setting, assistance with activities of daily living (such as eating, bathing,
dressing, toileting and transferring/walking)[.]” Moreover, the 2Q17 10-Q asserted that “[b]y
providing residents with a range of service options as their needs change,” the Company
“provide[s] greater continuity of care.”

        The “Risk Factors” section of the 2Q17 10-Q stated, “[t]here have been no material changes
to the risk factors set forth in Part I, Item 1A of our Annual Report on Form 10-K for the year
ended December 31, 2016.”

       The 2Q17 10-Q stated, in relevant part, about the Company’s disclosure controls and
procedures:

       Our management, under the supervision of and with the participation of our Chief
       Executive Officer and Chief Financial Officer, has evaluated the effectiveness of
       our disclosure controls and procedures (as such term is defined under Rules 13a-
       15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as amended) as of
       the end of the period covered by this report. Based on such evaluation, our Chief
       Executive Officer and Chief Financial Officer each concluded that, as of June 30,
       2017, our disclosure controls and procedures were effective.

        The 2Q17 10-Q, stated in relevant part, about the Company’s internal control over financial
reporting:

       There has not been any change in our internal control over financial reporting (as
       such term is defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
       during the fiscal quarter ended June 30, 2017 that has materially affected, or is
       reasonably likely to materially affect, our internal control over financial reporting.



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       On November 7, 2017, Brookdale filed its quarterly report for the fiscal quarter ended
September 30, 2017 on Form 10-Q (the “3Q17 10-Q”). The 3Q17 10-Q was signed by Baier, and
contained SOX certifications signed by Smith and Baier attesting to the accuracy of the financial
statements contained therein, the disclosure of any material changes to the Company’s internal
controls, and the disclosure of any fraud committed by the Company, its officers, or its directors.

        For the quarter, Brookdale reported net loss of $413.89 million attributable to Company
stockholders, or $2.22 per diluted share, on total revenue of approximately $1.18 billion, compared
to a net loss of approximately $51.69 million attributable to Company stockholders, or $0.28 per
diluted share, on total revenue of approximately $1.25 billion for the same quarter in the prior year.

        With respect to “Resident Fees” for the third fiscal quarter, the 3Q17 10-Q also reported,
in relevant part, that:

       Resident fee revenue decreased $119.9 million, or 11.5%, compared to the prior
       year period primarily due to disposition activity, through sales and lease
       terminations, since the beginning of the prior year period. Weighted average
       occupancy decreased 160 basis points at the 809 communities we owned or leased
       during both full periods, primarily due to the impact of new competition in our
       markets. Additionally, Brookdale Ancillary Services segment revenue decreased
       $6.7 million, or 5.7%, primarily due to a decrease in volume for outpatient therapy
       services and a decrease in reimbursement rates for home health services. The 136
       communities disposed of subsequent to the beginning of the prior year period
       (including the 62 communities for which the financial results were deconsolidated
       from our financial statements prospectively upon formation of the Blackstone
       Venture on March 29, 2017) generated $4.0 million of revenue during the current
       year period compared to $115.1 million of revenue in the prior year period. The
       decrease in resident fee revenue was partially offset by a 1.4% increase in RevPOR
       at the 809 communities we owned or operated during both full periods compared
       to the prior year period. Total RevPAR for the consolidated portfolio also increased
       by 1.1% compared to the prior year period.

       Regarding “Facility Operating Expense” for the third fiscal quarter, the 3Q17 10-Q also
reported, in relevant part, that:

       Facility operating expense decreased $53.6 million, or 7.6%, over the prior year
       period. For the three months ended September 30, 2017, facility operating expense
       includes $5.3 million of costs related to our response to Hurricanes Harvey and
       Irma. The decrease in facility operating expense is primarily due to disposition
       activity, through sales and lease terminations, of 136 communities since the
       beginning of the prior year period, which incurred $3.3 million of facility operating
       expenses during the current year period compared to $87.4 million of facility
       operating expenses in the prior year period. Additionally, Brookdale Ancillary
       Services segment facility operating expenses decreased $1.9 million, or 1.8%,
       primarily due to a decrease in volume for outpatient therapy services. These
       decreases were partially offset by an increase in salaries and wages arising from
       wage rate increases at the communities we operated during both full periods and an


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       $8.1 million increase in insurance expense related to positive changes in the three
       months ended September 30, 2016 to estimates in general liability and professional
       liability and workers compensation expenses.

       With respect to “General and Administrative Expense” for the third fiscal quarter, the 3Q17
10-Q also reported, in relevant part, that:

       General and administrative expense increased $0.4 million, or 0.6%, over the prior
       year period primarily due to increased legal fees. This increase was partially offset
       by a $5.6 million decrease in integration, transaction-related and strategic project
       costs. Integration, transaction-related and strategic project costs were $0.8 million
       during the current period compared to $6.4 million in the prior year period.
       Integration costs for 2016 include transition costs associated with organizational
       restructuring (such as severance and retention payments and recruiting expenses),
       third party consulting expenses directly related to the integration of acquired
       communities (in areas such as cost savings and synergy realization, branding and
       technology and systems work), and internal costs such as training, travel and labor,
       reflecting time spent by Company personnel on integration activities and projects.
       Transaction-related costs for 2016 include third party costs directly related to
       acquisition and disposition activity, community financing and leasing activity and
       corporate capital structure assessment activities (including shareholder relations
       advisory matters), and are primarily comprised of legal, finance, consulting,
       professional fees and other third party costs. Strategic project costs for 2016 include
       costs associated with strategic projects related to refining our strategy, building out
       enterprise-wide capabilities (including EMR roll-out project) and reducing costs
       and achieving synergies by capitalizing on scale.

        With respect to “Costs Incurred on Behalf of Managed Communities” for the third fiscal
quarter, the 3Q17 10-Q also reported, in relevant part, that:

       Costs incurred on behalf of managed communities increased $49.2 million, or
       26.2%, primarily due to our entry into management agreements with the Blackstone
       Venture.

        The 3Q17 10-Q also advertised the Company’s supposedly excellent senior living
communities and the services they could provide to customers, stating, “ [t]he Company is
committed to providing senior living solutions primarily within properties that are designed,
purpose-built and operated to provide the highest quality service, care and living accommodations
for residents” and that as of September 30, 2017, the Company had “the ability to serve
approximately 101,000 residents.” Further, the 3Q17 10-Q stated that the Company offers its
residents “access to a full continuum of services across the most attractive sectors of the senior
living industry” and “a supportive home-like setting, assistance with activities of daily living (such
as eating, bathing, dressing, toileting and transferring/walking)[.]” Moreover, the 3Q17 10-Q
asserted that “[b]y providing residents with a range of service options as their needs change,” the
Company “provide[s] greater continuity of care.”




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        The “Risk Factors” section of the 3Q17 10-Q stated, “[t]here have been no material changes
to the risk factors set forth in Part I, Item 1A of our Annual Report on Form 10-K for the year
ended December 31, 2016.”

       The 3Q17 10-Q stated, in relevant part, about the Company’s disclosure controls and
procedures:

       Our management, under the supervision of and with the participation of our Chief
       Executive Officer and Chief Financial Officer, has evaluated the effectiveness of
       our disclosure controls and procedures (as such term is defined under Rules 13a-
       15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as amended) as of
       the end of the period covered by this report. Based on such evaluation, our Chief
       Executive Officer and Chief Financial Officer each concluded that, as of September
       30, 2017, our disclosure controls and procedures were effective.

        The 3Q17 10-Q, stated in relevant part, about the Company’s internal control over financial
reporting:

       There has not been any change in our internal control over financial reporting (as
       such term is defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
       during the fiscal quarter ended September 30, 2017 that has materially affected, or
       is reasonably likely to materially affect, our internal control over financial
       reporting.

        On February 22, 2018, the Company filed its annual report with the SEC announcing its
financial and operating results for the quarter and year ended December 31, 2017 on a Form 10-K
(the “2017 10-K”). The 2017 10-K was signed by Baier, Smith, Bromley, Bumstead, Clegg,
Decker, Leeds, Seward, and Wielansky, and contained SOX certifications signed by Smith and
Baier attesting to the accuracy of the financial statements contained therein, the disclosure of any
material changes to the Company’s internal controls, and the disclosure of any fraud committed
by the Company, its officers, or its directors. For the 2017 fiscal year, the Company reported a net
loss of $571.4 million attributable to Company stockholders, or $3.07 per diluted share, on total
revenue of $4.75 billion, compared to a net loss of $404.4 million attributable to Company
stockholders, or $2.18 per diluted share, on total revenue of $4.98 billion for the prior year.

       With regard to “Resident Fees” for the full fiscal year ended December 31, 2017, the 2017
10-K also reported, in relevant part, that:

       Resident fee revenue decreased $388.5 million, or 9.3%, compared to the prior year
       primarily due to disposition activity, through sales and lease terminations, since the
       beginning of the prior year. Weighted average occupancy decreased 130 basis
       points at the 766 communities we owned or leased during both full periods, which
       reflects the impact of new competition in our markets.

                                         *       *       *

       The 165 communities disposed of subsequent to the beginning of the prior year
       (including the 62 communities for which the financial results were deconsolidated


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       from our financial statements prospectively upon formation of the Blackstone
       Venture on March 29, 2017) generated $172.6 million of revenue during the current
       year period compared to $543.3 million of revenue in the prior year period. The
       decrease in resident fee revenue was partially offset by a 2.5% increase in RevPOR.
       Total RevPAR for the consolidated portfolio also increased by 1.6% compared to
       the prior year.

       With respect to “Facility Operating Expense” for the full fiscal year ended December 31,
2017, the 2017 10-K also reported, in relevant part, that:

       Facility operating expense decreased $197.2 million, or 7.0%, over the prior year.

                                         *       *       *

       The decrease in facility operating expense is primarily due to disposition activity,
       through sales and lease terminations, of 165 communities since the beginning of
       the prior year period, which incurred $135.0 million of facility operating expenses
       during the current year compared to $413.1 million of facility operating expenses
       in the prior year.

                                         *       *       *

       These decreases were partially offset by an increase in salaries and wages arising
       from wage rate increases at the communities we operated during both full years and
       a $23.3 million increase in insurance expense related to positive changes in the prior
       year to estimates in general liability and professional liability and workers
       compensation expenses.

       Regarding the Company’s “General and Administrative Expense” for the full fiscal year
ended December 31, 2017, the 2017 10-K also reported, in relevant part, that:

       General and administrative expense decreased $58.0 million, or 18.5%, over the
       prior year primarily due to a $47.4 million decrease in integration, transaction-
       related and strategic project costs.

                                         *       *       *

       Strategic project costs for 2016 include costs associated with strategic projects
       related to refining our strategy, building out enterprise-wide capabilities (including
       EMR roll-out projects) and reducing costs and achieving synergies by capitalizing
       on scale. Additionally, a reduction in corporate associate headcount resulted in
       decreased salaries and wage expenses in the current year.

         With regard to the Company’s “Costs Incurred on Behalf of Managed Communities” for
the full fiscal year ended December 31, 2017, the 2017 10-K also reported, in relevant part, that:




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       Costs incurred on behalf of managed communities increased $153.5 million, or
       20.8%, primarily due to our entry into management agreements with the Blackstone
       Venture.

        Like the 2Q16 10-Q and the 2016 10-K, the 2017 10-K also touted the Company’s allegedly
excellent customer service and senior living communities, stating, “ [t]he Company is committed
to providing senior living solutions primarily within properties that are designed, purpose-built
and operated to provide quality service, care and living accommodations for residents” and that as
of December 31, 2017, the Company had “the ability to serve approximately 101,000 residents.”
Further, the 2Q17 10-Q stated that the Company offers its residents “access to a full continuum of
services across the most attractive sectors of the senior living industry” and “a supportive home-
like setting, assistance with activities of daily living (ADL) such as eating, bathing, dressing,
toileting and transferring/walking[.]” Moreover, the 2Q17 10-Q asserted that “[b]y providing
residents with a range of service options as their needs change,” the Company “provide[s] greater
continuity of care.”

       Regarding the Company’s “Operations,” the 2017 10-K stated:

       We have implemented intensive standards, policies and procedures and systems,
       including detailed staff manuals and training materials, which we believe have
       contributed to high levels of customer service. Further, we believe our centralized
       support infrastructure allows our community-based leaders and personnel to focus
       on resident care and family connections. Our operating procedures include
       securing national vendor contracts to obtain lower pricing for certain services such
       as food, supplies and insurance, implementing effective budgeting and financial
       controls at each community, and establishing standardized training and
       operations procedures. We have also established company-wide policies and
       procedures relating to, among other things: resident care; community design and
       community operations; billing and collections; accounts payable; finance and
       accounting; risk management; development of employee training materials and
       programs; marketing activities; the hiring and training of management and other
       community-based personnel; compliance with applicable local and state
       regulatory requirements[.]

       Regarding “Community Staffing and Training” the 2017 10-K stated, in relevant part, the
following:

       Each community has an Executive Director responsible for the overall day-to-day
       operations of the community, including quality of care and service, social services
       and financial performance.

                                        *       *      *

       Depending upon the size of the community, each Executive Director is supported
       by a community staff member (health and wellness director or nursing director)
       who is directly responsible for day-to-day care of residents and community
       marketing and sales staff with regional support to oversee the community's sales,



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       marketing and community outreach programs. Other key positions supporting each
       community may include individuals responsible for food service, healthcare
       services, activities, housekeeping, and maintenance.

       We believe that quality of care and operating efficiency can be maximized by direct
       resident and staff contact.

       Regarding “Quality Assurance” the 2017 10-K stated, in relevant part, the
       following:

       We maintain quality assurance programs at each of our communities through
       our corporate and regional staff. Our quality assurance programs are designed
       to achieve a high degree of resident and family member satisfaction with the care
       and services that we provide. Our quality control measures include, among other
       things, community inspections conducted by corporate staff on a regular basis.
       These inspections cover the appearance of the exterior and grounds; the appearance
       and cleanliness of the interior; the professionalism and friendliness of staff; quality
       of resident care (including assisted living services, nursing care, therapy and home
       health programs); the quality of activities and the dining program; observance of
       residents in their daily living activities; and compliance with government
       regulations. Our quality control measures also include the survey of residents
       and family members on a regular basis to monitor their perception of the quality
       of services provided to residents.

        In the “Risk Factors,” section the 2017 10-K contained nonspecific, boilerplate language
regarding risks related to “[i]ncreases in the cost and availability of labor, including increased
competition for or a shortage of skilled personnel, increased wage pressures or increased union
activity, could have an adverse effect on our business, results of operations and cash flow.” The
risk warnings contained in the 2017 10-K were generic catch-all clauses that were not tailored to
reveal the known risks related to the misconduct detailed herein. Specifically, the 2017 10-K
stated, in pertinent part, that the Company’s “success depends on [Brookdale’s] ability to retain
and attract skilled management personnel who are responsible for the day-to-day operations of
each of [Brookdale’s] communities”; that “[i]ncreased competition for or a shortage of nurses,
therapists or other trained personnel, or general inflationary pressures may require that [the
Company] enhance [Brookdale’s] pay and benefits package to compete effectively for such
personnel”; that Company has “experienced and may continue to experience wage pressures due
to minimum wage increases mandated by state and local laws and the increase to the salary
thresholds for overtime exemptions under the Fair Labor Standards Act”; that the Company “may
not be able to offset such added costs resulting from competitive, inflationary or regulatory
pressures by increasing the rates [the Company] charge[s] to [Brookdale’s] residents or
[Brookdale’s] service charges, which would negatively impact [the Company’s] results of
operations and cash flow”; that “[t]urnover rates and the magnitude of the shortage of nurses,
therapists or other trained personnel varies substantially from market to market”; that, “[i]f [the
Company] fail[s] to attract and retain qualified and skilled personnel, [Brookdale’s] ability to
conduct [its] business operations effectively, [the Company’s] overall operating results and cash
flow could be harmed”; that “efforts by labor unions to unionize any of [Brookdale’s] community
personnel could divert management attention, lead to increases in [the Company’s] labor costs


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and/or reduce [its] flexibility with respect to certain workplace rules”; and that, “[i]f [the
Company] experience[s] an increase in organizing activity, if onerous collective bargaining
agreement terms are imposed upon [Brookdale], or if [Brookdale] otherwise experience[s] an
increase in [its] staffing and labor costs, [the Company’s] results of operations and cash flow would
be negatively affected.”

       The 2017 10-K stated, in relevant part, about the Company’s disclosure controls and
procedures:

       The Company maintains disclosure controls and procedures (as defined under
       Rules 13a-15(e) and 15d-15(e) of the Securities Exchange Act of 1934, as
       amended). Our management, under the supervision of and with the participation of
       our Chief Executive Officer and Chief Financial Officer, has evaluated the
       effectiveness of our disclosure controls and procedures. Based on such evaluation,
       our Chief Executive Officer and Chief Financial Officer each concluded that, as of
       December 31, 2017, our disclosure controls and procedures were effective.

        The 2017 10-K, stated in relevant part, about the Company’s internal control over financial
reporting:

       Our management is responsible for establishing and maintaining adequate internal
       control over financial reporting, as defined in Exchange Act Rule 13a-15(f). Under
       the supervision and with the participation of our management, including our Chief
       Executive Officer and Chief Financial Officer, we conducted an evaluation of the
       effectiveness of our internal control over financial reporting based on the
       framework in Internal Control—Integrated Framework issued by the Committee of
       Sponsoring Organizations of the Treadway Commission (2013 framework).

                                          *      *       *

       Based on the Company's evaluation, management concluded that our internal
       control over financial reporting was effective as of December 31, 2017.
       Management reviewed the results of their assessment with our Audit Committee.

                                          *      *       *

       There has not been any change in our internal control over financial reporting (as
       such term is defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
       during the fiscal quarter ended December 31, 2017 that has materially affected, or
       is reasonably likely to materially affect, our internal control over financial
       reporting.

        On May 8, 2018, Brookdale filed its quarterly report for the fiscal quarter ended March 31,
2018 on Form 10-Q (the “1Q18 10-Q”). The 1Q18 10-Q was signed by Baier, and contained SOX
certifications signed by Baier and Interim CFO, Teresa F. Sparks (“Sparks”) attesting to the
accuracy of the financial statements contained therein, the disclosure of any material changes to
the Company’s internal controls, and the disclosure of any fraud committed by the Company, its
officers, or its directors. For the quarter, Brookdale reported net loss of $457.19 million


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attributable to Company stockholders, or $2.45 per diluted share, on total revenue of
approximately $1.19 billion, compared to a net loss of approximately $126.30 million attributable
to Company stockholders, or $0.68 per diluted share, on total revenue of approximately
$1.22 billion for the same quarter in the prior year.

       Regarding “Resident Fees” for the first fiscal quarter, the 1Q18 10-Q also reported, in
relevant part, that:

       Resident fee revenue decreased $110.7 million, or 10.9%, compared to the prior
       year period primarily due to disposition activity, through sales and lease
       terminations, since the beginning of the prior year period. Weighted average
       occupancy decreased 130 basis points at the 769 communities we owned or leased
       during both full periods, which reflects the impact of new competition in our
       markets. Additionally, Brookdale Ancillary Services segment revenue decreased
       $1.5 million, or 1.3%, primarily due to a decline in volume for home health visits.
       The 111 communities disposed of subsequent to the beginning of the prior year
       period (including the 62 communities for which the financial results were
       deconsolidated from our financial statements prospectively upon formation of the
       Blackstone Venture on March 29, 2017) generated $2.2 million of revenue during
       the current year period compared to $107.6 million of revenue in the prior year
       period. The decrease in resident fee revenue was partially offset by a 1.0% increase
       in RevPOR at the 769 communities we owned or operated during both full periods
       compared to the prior year period. Total RevPAR for the consolidated portfolio also
       increased by 2.8% compared to the prior year period.

       Regarding “Facility Operating Expense” for the first fiscal quarter, the 1Q18 10-Q also
reported, in relevant part, that:

       Facility operating expense decreased $42.2 million, or 6.3%, over the prior year
       period. The decrease in facility operating expense is primarily due to disposition
       activity, through sales and lease terminations, of 111 communities since the
       beginning of the prior year period, which incurred $2.1 million of facility operating
       expenses during the current year period compared to $81.0 million of facility
       operating expenses in the prior year period. These decreases were partially offset
       by an increase in employee compensation costs at the communities we operated
       during both full periods, reflecting the impact of our investment in salaries and
       benefits and a tight labor market during the current year period. Additionally,
       insurance expense increased related to positive changes in the prior year period to
       estimates in general liability and professional liability and workers compensation
       expenses. Additionally, Brookdale Ancillary Services segment facility operating
       expenses increased $5.9 million, or 6.1%, primarily due to an increase in salaries
       and wages for the expansion of our hospice services.

       With respect to “General and Administrative Expense” for the first fiscal quarter, the 1Q18
10-Q also reported, in relevant part, that:




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       General and administrative expense increased $11.2 million, or 17.0%, over the
       prior year period primarily due to increased costs associated with organizational
       restructuring, including severance and retention costs related to our efforts to
       reduce general and administrative expense and senior leadership changes. During
       the current year period, general and administrative expense included severance
       costs and retention costs of $10.7 million and $1.7 million, respectively.

       Regarding “Costs Incurred on Behalf of Managed Communities” for the first fiscal quarter,
the 1Q18 10-Q also reported, in relevant part, that:

       Costs incurred on behalf of managed communities increased $78.3 million, or
       42.6%, primarily due to our entry into management agreements with the Blackstone
       Venture.

        The 1Q18 10-Q also advertised the Company’s supposedly excellent senior living
communities and the services they could provide to customers, stating, “[t]he Company is
committed to providing senior living solutions primarily within properties that are designed,
purpose-built and operated to provide quality service, care and living accommodations for
residents” and that as of March 31, 2018, the Company had “the ability to serve approximately
99,000 residents.” Further, the 1Q18 10-Q stated that the Company offers its residents “access to
a full continuum of services across the most attractive sectors of the senior living industry” and “a
supportive home-like setting, assistance with activities of daily living (ADL) such as eating,
bathing, dressing, toileting and transferring/walking[.]” Moreover, the 1Q18 10-Q asserted that
“[b]y providing residents with a range of service options as their needs change,” the Company
“provide[s] greater continuity of care.”

        The “Risk Factors” section of the 1Q18 10-Q stated, “[t]here have been no material changes
to the risk factors set forth in Part I, Item 1A of our Annual Report on Form 10-K for the year
ended December 31, 2017.”

       The 1Q18 10-Q stated, in relevant part, about the Company’s disclosure controls and
procedures:

       Our management, under the supervision of and with the participation of our Chief
       Executive Officer and Chief Financial Officer, has evaluated the effectiveness of
       our disclosure controls and procedures (as such term is defined under Rules 13a-
       15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as amended) as of
       the end of the period covered by this report. Based on such evaluation, our Chief
       Executive Officer and Chief Financial Officer each concluded that, as of March 31,
       2018, our disclosure controls and procedures were effective.

        The 1Q18 10-Q, stated in relevant part, about the Company’s internal control over financial
reporting:

       There has not been any change in our internal control over financial reporting (as
       such term is defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
       during the fiscal quarter ended March 31, 2018 that has materially affected, or is
       reasonably likely to materially affect, our internal control over financial reporting.


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        On August 7, 2018, Brookdale filed its quarterly report for the fiscal quarter ended June 30,
2018 on Form 10-Q (the “2Q18 10-Q”). The 2Q18 10-Q was signed by Baier, and contained SOX
certifications signed by Baier and Sparks attesting to the accuracy of the financial statements
contained therein, the disclosure of any material changes to the Company’s internal controls, and
the disclosure of any fraud committed by the Company, its officers, or its directors. For the quarter,
Brookdale reported net loss of $165.49 million attributable to Company stockholders, or $0.88 per
diluted share, on total revenue of approximately $1.16 billion, compared to a net loss of
approximately $46.29 million attributable to Company stockholders, or $0.25 per diluted share, on
total revenue of approximately $1.19 billion for the same quarter in the prior year.

       Regarding “Resident Fees” for the second fiscal quarter, the 2Q18 10-Q also reported, in
relevant part, that:

       Resident fee revenue decreased $38.1 million, or 4.1%, compared to the prior year
       period primarily due to disposition activity, through sales and lease terminations of
       94 communities, since the beginning of the prior year period. Weighted average
       occupancy decreased 100 basis points at the 758 communities we owned or leased
       during both full periods, which reflects the impact of new competition in our
       markets. The communities disposed of subsequent to the beginning of the prior year
       period generated $50.0 million of revenue during the current year period compared
       to $94.5 million of revenue in the prior year period. The decrease in resident fee
       revenue was partially offset by a 0.9% increase in RevPOR at the 758 communities
       we owned or operated during both full periods compared to the prior year period.
       Total RevPAR for the consolidated portfolio also increased by 2.5% compared to
       the prior year period.

        With respect to “Facility Operating Expense” for the second fiscal quarter, the 2Q18 10-Q
also reported, in relevant part, that:

       Facility operating expense decreased $15.3 million, or 2.4%, over the prior year
       period. The decrease in facility operating expense is primarily due to disposition
       activity, through sales and lease terminations, of 94 communities since the
       beginning of the prior year period, which incurred $31.8 million of facility
       operating expenses during the current year period compared to $68.7 million of
       facility operating expenses in the prior year period. These decreases were partially
       offset by an increase in labor expense at the communities we operated during both
       full periods, reflecting the impact of our investment in salaries and benefits and a
       tight labor market during the current year period.

       Regarding “General and Administrative Expense” for the second fiscal quarter, the 2Q18
10-Q also reported, in relevant part, that:

       General and administrative expense decreased $6.8 million, or 10.1%, over the
       prior year period primarily due to a decrease in salaries and wages expense as a
       result of a reduction in corporate associate headcount in the current year.




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        With regard to “Costs Incurred on Behalf of Managed Communities” for the second fiscal
quarter, the 2Q18 10-Q also reported, in relevant part, that:

       Costs incurred on behalf of managed communities increased $12.2 million, or
       5.3%, primarily due primarily due to the impact of the adoption of ASU 2014-09,
       Revenue from Contracts with Customers on January 1, 2018 under the modified
       retrospective approach. The impact to revenue for reimbursed costs incurred on
       behalf of managed communities and reimbursed costs incurred on behalf of
       managed communities as a result of applying ASC 606 was an increase of $11.3
       million for the three months ended June 30, 2018, respectively.

        The 2Q18 10-Q also advertised the Company’s supposedly excellent senior living
communities and the services they could provide to customers, stating, “[t]he Company is
committed to providing senior living solutions primarily within properties that are designed,
purpose-built and operated to provide quality service, care and living accommodations for
residents” and that as of June 30, 2018, the Company had “the ability to serve approximately
95,000 residents.” Further, the 2Q18 10-Q stated that the Company offers its residents “access to
a full continuum of services across the most attractive sectors of the senior living industry” and “a
supportive home-like setting, assistance with activities of daily living (ADL) such as eating,
bathing, dressing, toileting and transferring/walking[.]” Moreover, the 2Q18 10-Q asserted that
“[b]y providing residents with a range of service options as their needs change,” the Company
“provide[s] greater continuity of care.”

        The “Risk Factors” section of the 2Q18 10-Q stated, “[t]here have been no material changes
to the risk factors set forth in Part I, Item 1A of our Annual Report on Form 10-K for the year
ended December 31, 2017.”

       The 2Q18 10-Q stated, in relevant part, about the Company’s disclosure controls and
procedures:

       Our management, under the supervision of and with the participation of our Chief
       Executive Officer and Chief Financial Officer, has evaluated the effectiveness of
       our disclosure controls and procedures (as such term is defined under Rules 13a-
       15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as amended) as of
       the end of the period covered by this report. Based on such evaluation, our Chief
       Executive Officer and Chief Financial Officer each concluded that, as of June 30,
       2018, our disclosure controls and procedures were effective.

        The 2Q18 10-Q, stated in relevant part, about the Company’s internal control over financial
reporting:

       There has not been any change in our internal control over financial reporting (as
       such term is defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
       during the fiscal quarter ended June 30, 2018 that has materially affected, or is
       reasonably likely to materially affect, our internal control over financial reporting.

       On August 21, 2018, the Company filed a Schedule 14A with the SEC (the “2018 Proxy
Statement”). Smith, Bromley, Bumstead, Clegg, Decker, Leeds, Parrell, Petty, Seward, and


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Wielansky solicited the 2018 Proxy Statement which contained material misstatements and
omissions.

        Specifically, with respect to the Company’s Code of Conduct, the 2018 Proxy Statement
stated, “[t]he Board has also adopted a Code of Business Conduct and Ethics that applies to all
employees, directors and officers, including our principal.” The 2018 Proxy Statement was false
and misleading because, despite assertions to the contrary, the Company’s Code of Conduct was
not followed, as evidenced by the numerous false and misleading statements discussed herein and
Management’s failures to report violations of the Code of Conduct.

        The 2018 Proxy Statement also called for stockholder approval of, among other things:
(1) the election of three directors; (2) the approval of an amendment to the Company’s Certificate
of Incorporation to declassify the Board (the “First 2018 Proposal”); and (3) the approval of an
amendment to the Company’s Certificate of Incorporation to eliminate a supermajority voting for
director removal (the “Second 2018 Proposal” and, together with the First 2018 Proposal, the
“2018 Proposals”).

         The 2018 Proxy Statement was materially false and misleading, and failed to disclose
material facts necessary to make the statements made not false and misleading, because it
improperly failed to disclose, inter alia, that: (1) the Company’s purposeful understaffing of its
facilities as detailed herein; (2) the Company’s commercial success was maintained by, among
other things, this misconduct; (3) the Company’s purposeful understaffing of its facilities exposed
the Company to a greater chance of litigation and, in all likelihood, the uncovering of this
misconduct would have a substantial adverse effect on Brookdale’s business, operations,
prospects, and reputation; (4) consequently, Brookdale’s financial performance was unsustainable;
and (5) Brookdale failed to maintain adequate internal controls to prevent the occurrence of this
misconduct. As a result of the foregoing, the Company’s public statements were materially false
and misleading at all relevant times.

       The misrepresentations and omissions set forth herein were material to stockholders in
voting on the 2018 Proposals who would not have approved the 2018 Proposals had they been
informed about the Misconduct.

       On November 6, 2018, Brookdale filed its quarterly report for the fiscal quarter ended
September 30, 2018 on Form 10-Q (the “3Q18 10-Q”). The 3Q18 10-Q was signed by Swain, and
contained SOX certifications signed by Baier and Swain attesting to the accuracy of the financial
statements contained therein, the disclosure of any material changes to the Company’s internal
controls, and the disclosure of any fraud committed by the Company, its officers, or its directors.

        For the quarter, Brookdale reported net loss of $37.12 million attributable to Company
stockholders, or $0.20 per diluted share, on total revenue of approximately $1.12 billion, compared
to a net loss of approximately $413.89 million attributable to Company stockholders, or $2.22 per
diluted share, on total revenue of approximately $1.18 billion for the same quarter in the prior year.

       Regarding “Resident Fees” for the third fiscal quarter, the 3Q18 10-Q also reported, in
relevant part, that:




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       Resident fee revenue decreased $82.7 million, or 9.0%, compared to the prior year
       period primarily due to disposition activity, through sales and lease terminations of
       104 communities, since the beginning of the prior year period, which generated
       $15.0 million of revenue during the current year period compared to $106.9 million
       of revenue in the prior year period. The increases to RevPAR and RevPOR for the
       consolidated portfolio are primarily due to the disposition of communities with
       lower RevPOR since the beginning of the prior year period. Weighted average
       occupancy decreased 90 basis points at the 714 communities we owned or leased
       during both full periods, which reflects the impact of new competition in our
       markets. RevPAR and RevPOR at the 714 communities we owned or leased during
       both full periods increased by 0.2% and 1.3%, respectively. Total RevPAR for the
       consolidated portfolio also increased by 4.0% compared to the prior year period
       primarily due to fewer weighted average units.

        With respect to “Facility Operating Expense” for the third fiscal quarter, the 3Q18 10-Q
also reported, in relevant part, that:

       Facility operating expense decreased $43.6 million, or 6.7%, over the prior year
       period primarily due to disposition activity, through sales and lease terminations,
       of 104 communities since the beginning of the prior year period, which incurred
       $11.2 million of facility operating expense during the current year period compared
       to $75.6 million of facility operating expense in the prior year period. These
       decreases were partially offset by an increase in labor expense at the communities
       we operated during both full periods, reflecting the impact of our investment in
       salaries and benefits and a tight labor market during the current year period. We
       expect that our labor investments will continue into 2019. Facility operating
       expense included costs related to our responses to hurricanes of $1.5 million in the
       current year period and $5.4 million in the prior year period.

       With respect to “General and Administrative Expense” for the third fiscal quarter, the 3Q18
10-Q also reported, in relevant part, that:

       General and administrative expense decreased $6.5 million, or 10.1%, over the
       prior year period primarily due to a decrease in salaries and wages expense as a
       result of a reduction in corporate associate headcount in the current year. During
       the current year period, general and administrative expense included retention costs
       of $1.6 million.

        Regarding “Costs Incurred on Behalf of Managed Communities” for the third fiscal
quarter, the 3Q18 10-Q also reported, in relevant part, that:

       Costs incurred on behalf of managed communities increased $24.4 million, or
       10.3%, primarily due to our entry into interim management agreements with HCP
       and Welltower for communities for which our leases were terminated subsequent
       to the prior year period. Additionally, costs incurred on behalf of managed
       communities increased due to the impact of the adoption of ASU 2014-09, Revenue
       from Contracts with Customers on January 1, 2018 under the modified


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       retrospective approach. The impact to revenue for reimbursed costs incurred on
       behalf of managed communities and reimbursed costs incurred on behalf of
       managed communities as a result of applying ASC 606 was an increase of $11.2
       million for the three months ended September 30, 2018.

        The 3Q18 10-Q also advertised the Company’s supposedly excellent senior living
communities and the services they could provide to customers, stating, “ [t]he Company is
committed to providing senior living solutions primarily within properties that are designed,
purpose-built and operated to provide quality service, care and living accommodations for
residents” and that as of September 30, 2018, the Company had “the ability to serve approximately
93,000 residents.” Further, the 3Q18 10-Q stated that the Company offers its residents “access to
a full continuum of services across the most attractive sectors of the senior living industry” and “a
supportive home-like setting, assistance with activities of daily living (ADL) such as eating,
bathing, dressing, toileting and transferring/walking[.]” Moreover, the 3Q18 10-Q asserted that
“[b]y providing residents with a range of service options as their needs change,” the Company
“provide[s] greater continuity of care.”

        The “Risk Factors” section of the 3Q18 10-Q stated, “[t]here have been no material changes
to the risk factors set forth in Part I, Item 1A of our Annual Report on Form 10-K for the year
ended December 31, 2017.”

       The 3Q18 10-Q stated, in relevant part, about the Company’s disclosure controls and
procedures:

       Our management, under the supervision of and with the participation of our Chief
       Executive Officer and Chief Financial Officer, has evaluated the effectiveness of
       our disclosure controls and procedures (as such term is defined under Rules 13a-
       15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as amended) as of
       the end of the period covered by this report. Based on such evaluation, our Chief
       Executive Officer and Chief Financial Officer each concluded that, as of September
       30, 2018, our disclosure controls and procedures were effective.

        The 3Q18 10-Q, stated in relevant part, about the Company’s internal control over financial
reporting:

       There has not been any change in our internal control over financial reporting (as
       such term is defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
       during the fiscal quarter ended September 30, 2018 that has materially affected, or
       is reasonably likely to materially affect, our internal control over financial
       reporting.

        On February 14, 2019, the Company filed its annual report with the SEC announcing its
financial and operating results for the quarter and year ended December 31, 2018 on a Form 10-K
(the “2018 10-K”). The 2018 10-K was signed by Baier, Swain, Bromley, Bumstead, Clegg,
Johnson-Mills, Seward, Warren, and Wielansky, and contained SOX certifications signed by Baier
and Swain attesting to the accuracy of the financial statements contained therein, the disclosure of




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any material changes to the Company’s internal controls, and the disclosure of any fraud
committed by the Company, its officers, or its directors.

        For the 2017 fiscal year, the Company reported a net loss of $528.3 million attributable to
Company stockholders, or $2.82 per diluted share, on total revenue of $4.53 billion, compared to
a net loss of $571.4 million attributable to Company stockholders, or $3.07 per diluted share, on
total revenue of $4.75 billion for the prior year.

        Regarding “Resident Fees” for the full fiscal year ended December 31, 2018, the 2018 10-
K also reported, in relevant part, that:

       Resident fee revenue decreased $330.9 million, or 8.8%, compared to the prior year
       primarily due to disposition activity through sales and lease terminations of 219
       communities since the beginning of the prior year[.]

                                         *      *       *

       The decrease was partially offset by $32.3 million of revenue for four communities
       acquired during 2018. The increases to RevPAR and RevPOR for the consolidated
       portfolio are primarily due to the disposition of communities with lower RevPOR
       since the beginning of the prior year period. RevPOR at the 664 communities we
       owned or leased during both full years increased by 1.2%. Weighted average
       occupancy decreased 90 basis points at the 664 communities we owned or leased
       during both full years, which reflects the impact of new competition in our markets.
       RevPOR increased at communities that we owned or leased during both full years
       primarily as a result of in-place rent increases and lower discounting.

       With respect to “Facility Operating Expense” for the full fiscal year ended December 31,
2018, the 2018 10-K also reported, in relevant part, that:

       Facility operating expense decreased $148.8 million, or 5.7%, over the prior year
       primarily due to disposition activity through sales and lease terminations of 219
       communities since the beginning of the prior year, which incurred $207.8 million
       of facility operating expense during 2018 compared to $453.4 million of facility
       operating expense in the prior year. The decrease was partially offset by an increase
       in labor expense at the communities we operated during both full years and by $17.9
       million of facility operating expense for four communities acquired during 2018.

                                         *      *       *

       Facility operating expense at the 664 communities we operated during both full
       years increased 4.6%, over the prior year, reflecting the impact of our investment
       in salaries and benefits and a tight labor market during 2018. We expect that our
       labor investments will continue into 2019. Additionally, costs for information
       technology systems and insurance expenses increased at the communities we
       operated during both full years.




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       With regard to the Company’s “General and Administrative Expense” for the full fiscal
year ended December 31, 2018, the 2018 10-K also reported, in relevant part, that:

       General and administrative expense decreased $5.0 million, or 1.9%, over the prior
       year primarily due to a decrease in salaries and wages expense as a result of a
       reduction in our corporate associate headcount pursuant to the initiative to scale our
       general and administrative costs in connection with our portfolio optimization
       strategy. General and administrative expense included severance costs and
       retention costs of $12.3 million and $6.5 million, respectively, in 2018.

         Regarding the Company’s “Costs Incurred on Behalf of Managed Communities” for the
full fiscal year ended December 31, 2018, the 2018 10-K also reported, in relevant part, that:

       Costs incurred on behalf of managed communities increased $119.1 million, or
       13.4%, primarily due to our entry into management agreements with the Blackstone
       Venture and the transition of communities previously leased from HCP and
       Welltower into the management services segment on an interim basis. Additionally,
       costs incurred on behalf of managed communities increased as a result of increases
       in salaries and wages and other facility operating expense at the communities
       managed in both full years and due to the impact of the adoption of ASU 2014-09,
       Revenue from Contracts with Customers on January 1, 2018 under the modified
       retrospective approach. The impact to each of revenue for reimbursed costs
       incurred on behalf of managed communities and reimbursed costs incurred on
       behalf of managed communities as a result of applying ASC 606 was an increase
       of $46.1 million for 2018.

         Like the Company’s previous quarterly and annual reports referenced above, the 2018 10-
K also touted the Company’s allegedly excellent customer service and senior living communities,
stating, “ [t]he Company is committed to providing senior living solutions primarily within
properties that are designed, purpose-built and operated to provide quality service, care and living
accommodations for residents” and that as of December 31, 2018, the Company had “the ability
to serve approximately 84,000 residents.” Further, the 2017 10-K stated that the Company offers
its residents “access to a full continuum of services across the most attractive sectors of the senior
living industry” and “a supportive home-like setting, assistance with activities of daily living
(“ADL”) such as eating, bathing, dressing, toileting and transferring/walking[.]” Moreover, the
2018 10-K asserted that “[b]y providing residents with a range of service options as their needs
change,” the Company “provide[s] greater continuity of care.”

       With respect to the Company’s “Operations,” the 2018 10-K stated:

       We have implemented intensive standards, policies and procedures and systems,
       including detailed staff manuals and training materials, which we believe have
       contributed to high levels of customer service. Further, we believe our centralized
       support infrastructure allows our community-based leaders and personnel to focus
       on resident care and family connections.




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       We have developed a centralized support infrastructure and services platform,
       which provides us with a significant operational advantage over local and regional
       operators of senior living communities. The size of our business also allows us to
       achieve increased efficiencies with respect to various corporate functions such as
       procurement, human resources, finance, accounting, legal, information technology
       and marketing. We are also able to realize cost efficiencies in the purchasing of
       food, supplies, insurance, benefits, and other goods and services. In addition, we
       have established centralized operations groups to support all of our product lines
       and communities in areas such as training, regulatory affairs, asset management,
       dining and procurement. We have also established company-wide policies and
       procedures relating to, among other things: resident care; community design and
       community operations; billing and collections; accounts payable; finance and
       accounting; risk management; development of employee training materials and
       programs; marketing activities; the hiring and training of management and other
       community-based personnel; compliance with applicable local and state
       regulatory requirements[.]

       Regarding “Community Staffing and Training” the 2018 10-K stated, in relevant part, the
following:

       Each community has an Executive Director responsible for the overall day-to-day
       operations of the community, including quality of care and service, social services
       and financial performance.

                                         *       *       *

       Depending upon the size of the community, each Executive Director is supported
       by key leaders, a Health and Wellness Director (or nursing director) and/or a Sales
       Director. The Health and Wellness Director or nursing director is directly
       responsible for day-to-day care of residents. The Sales Director oversees the
       community’s sales, marketing and community outreach programs. Other key
       positions supporting each community may include individuals responsible for food
       service, healthcare services, activities, housekeeping, and maintenance.

       We believe that quality of care and operating efficiency can be maximized by direct
       resident and staff contact.

       With respect to “Quality Assurance” the 2018 10-K stated, in relevant part, the following:

       We maintain quality assurance programs at each of our communities through
       our corporate and regional staff. Our quality assurance programs are designed
       to achieve a high degree of resident and family member satisfaction with the care
       and services that we provide. Our quality control measures include, among other
       things, community inspections conducted by corporate staff on a regular basis.
       These inspections cover the appearance of the exterior and grounds; the appearance
       and cleanliness of the interior; the professionalism and friendliness of staff; quality
       of resident care (including assisted living services, nursing care, therapy and home



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       health programs); the quality of activities and the dining program; observance of
       residents in their daily living activities; and compliance with government
       regulations. Our quality control measures also include the survey of residents
       and family members on a regular basis to monitor their perception of the quality
       of services provided to residents.

         In the “Risk Factors,” section the 2018 10-K contained generic, hypothetical, and
boilerplate language regarding risks related to [i]ncreased competition for, or a shortage of,
personnel, and wage pressures resulting from increased competition, low unemployment levels,
minimum wage increases, changes in overtime laws, and union activity may have an adverse effect
on our business, results of operations and cash flow.” The risk warnings contained in the 2018 10-
K were generic catch-all clauses that were not crafted to divulge the Company’s known risks
related to the Misconduct. Specifically, the 2018 10-K stated, in pertinent part, that the Company’s
“success depends on [Brookdale’s] ability to retain and attract qualified management and other
personnel who are responsible for the day-to-day operations of each of [Brookdale’s]
communities”; that “[i]ncreased competition for, or a shortage of, nurses, therapists or other
personnel, low levels of unemployment, or general inflationary pressures may have required and
may require in the future that [the Company] enhance [Brookdale’s] pay and benefits package to
compete effectively for such personnel”; that Company has “experienced and may continue to
experience wage pressures due to minimum wage increases mandated by state and local laws and
the proposed increase to the salary thresholds for overtime exemptions under the Fair Labor
Standards Act”; that the Company “may not be able to offset the added costs resulting from
competitive, inflationary or regulatory pressures by increasing the rates [the Company] charge[s]
to [Brookdale’s] residents or [Brookdale’s] service charges, which would negatively impact [the
Company’s] results of operations and cash flow”; that “[t]urnover rates of our personnel and the
magnitude of the shortage of nurses, therapists or other personnel varies substantially from market
to market”; that, “[i]f [the Company] fail[s] to attract and retain qualified personnel, [Brookdale’s]
ability to conduct [its] business operations effectively, [the Company’s] overall operating results
and cash flow could be harmed”; that “efforts by labor unions to unionize any of [Brookdale’s]
community personnel could divert management attention, lead to increases in [the Company’s]
labor costs and/or reduce [its] flexibility with respect to certain workplace rules”; and that, “[i]f
[the Company] experience[s] an increase in organizing activity, if onerous collective bargaining
agreement terms are imposed upon [Brookdale], or if [Brookdale] otherwise experience[s] an
increase in [its] staffing and labor costs, [the Company’s] results of operations and cash flow would
be negatively affected.”

       The 2018 10-K stated, in relevant part, about the Company’s disclosure controls and
procedures:

       The Company maintains disclosure controls and procedures (as defined under
       Rules 13a-15(e) and 15d-15(e) of the Securities Exchange Act of 1934, as
       amended). Our management, under the supervision of and with the participation of
       our Chief Executive Officer and Chief Financial Officer, has evaluated the
       effectiveness of our disclosure controls and procedures. Based on such evaluation,
       our Chief Executive Officer and Chief Financial Officer each concluded that, as of
       December 31, 2018, our disclosure controls and procedures were effective.



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        The 2018 10-K, stated in relevant part, about the Company’s internal control over financial
reporting:

       Our management is responsible for establishing and maintaining adequate internal
       control over financial reporting, as defined in Exchange Act Rule 13a-15(f). Under
       the supervision and with the participation of our management, including our Chief
       Executive Officer and Chief Financial Officer, we conducted an evaluation of the
       effectiveness of our internal control over financial reporting based on the
       framework in Internal Control - Integrated Framework issued by the Committee of
       Sponsoring Organizations of the Treadway Commission (2013 framework).

                                          *       *       *

       Based on the Company's evaluation, management concluded that our internal
       control over financial reporting was effective as of December 31, 2018.
       Management reviewed the results of their assessment with our Audit Committee.

                                          *       *       *

       There has not been any change in our internal control over financial reporting (as
       such term is defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
       during the fiscal quarter ended December 31, 2018 that has materially affected, or
       is reasonably likely to materially affect, our internal control over financial
       reporting.

        The 2018 10-K also contained general statements about the risk of errors in the Company’s
financial reporting. To this point, the 2018 10-K stated, “[b]ecause of its inherent limitations,
internal control over financial reporting may not prevent or detect misstatements. Therefore, even
those systems determined to be effective can only provide reasonable assurance with respect to
financial statement preparation and presentation.”

        On May 7, 2019, Brookdale filed its quarterly report for the fiscal quarter ended March 31,
2019 on Form 10-Q (the “1Q19 10-Q”). The 1Q19 10-Q was signed by Swain, and contained SOX
certifications signed by Baier and Swain attesting to the accuracy of the financial statements
contained therein, the disclosure of any material changes to the Company’s internal controls, and
the disclosure of any fraud committed by the Company, its officers, or its directors.

        For the quarter, Brookdale reported net loss of $42.60 million attributable to Company
stockholders, or $0.23 per diluted share, on total revenue of approximately $1.04 billion, compared
to a net loss of approximately $457.19 million attributable to Company stockholders, or $2.45 per
diluted share, on total revenue of approximately $1.19 billion for the same quarter in the prior year.

       Regarding “Resident Fees” for the first fiscal quarter, the 1Q19 10-Q also reported, in
relevant part, that:

       The decrease in total revenue was primarily attributable to the disposition of 118
       communities through sales of owned communities and lease terminations since the
       beginning of the prior year period, which had $119.9 million less in resident fees


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       during the three months ended March 31, 2019 compared to the prior year period.
       The decrease in resident fees was partially offset by a 1.6% increase in same
       community RevPAR at the 658 communities we owned or leased during both full
       periods, comprised of a 3.1% increase in same community RevPOR and a 120 basis
       point decrease in same community weighted average occupancy. Additionally,
       management services revenue, including management fees and reimbursed costs
       incurred on behalf of managed communities, decreased $48.4 million primarily due
       to terminations of management agreements subsequent to the beginning of the prior
       year period.

        With respect to “Facility Operating Expense” for the first fiscal quarter, the 1Q19 10-Q
also reported, in relevant part, that:

       The decrease in facility operating expense was primarily attributable to the
       disposition of communities since the beginning of the prior year period, which had
       $80.7 million less in facility operating expense during the three months ended
       March 31, 2019 compared to the prior year period. The decrease was partially offset
       by a 4.4% increase in same community facility operating expense, which was
       primarily due to an increase in labor expense arising from wage rate increases.

        Regarding “General and Administrative Expense” for the first fiscal quarter, the 1Q19 10-
Q also reported, in relevant part, that:

       The decrease in general and administrative expense was primarily attributable to a
       decrease in organizational restructuring costs and salaries and wages expense as a
       result of a reduction in our corporate associate headcount since the beginning of the
       prior year period as we scaled our general and administrative costs in connection
       with community dispositions. Transaction and organizational restructuring costs
       decreased $16.7 million compared to the prior period, to $0.5 million for the three
       months ended March 31, 2019. Transaction costs include those directly related to
       acquisition, disposition, financing, and leasing activity, our assessment of options
       and alternatives to enhance stockholder value, and stockholder relations advisory
       matters, and are primarily comprised of legal, finance, consulting, professional fees
       and other third party costs. Organizational restructuring costs include those related
       to our efforts to reduce general and administrative expense and our senior
       leadership changes, including severance and retention costs.

        With regard to “Costs Incurred on Behalf of Managed Communities” for the first fiscal
quarter, the 1Q19 10-Q also reported, in relevant part, that:

       The decrease in costs incurred on behalf of managed communities was primarily
       due to terminations of management agreements subsequent to the beginning of the
       prior year period.

      The 1Q19 10-Q also advertised the Company’s supposedly excellent senior living
communities and the services they could provide to customers, stating, “ [t]he Company is
committed to providing senior living solutions primarily within properties that are designed,



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purpose-built, and operated to provide quality service, care, and living accommodations for
residents” and that as of March 31, 2019, the Company had “the ability to serve approximately
80,000 residents.” Further, the 1Q19 10-Q stated that the Company offers its residents “access to
a full continuum of services across the most attractive sectors of the senior living industry” and “a
supportive home-like setting, assistance with activities of daily living such as eating, bathing,
dressing, toileting, and transferring/walking[.]” Moreover, the 1Q19 10-Q asserted that “[b]y
providing residents with a range of service options as their needs change,” the Company
“provide[s] greater continuity of care.”

        The “Risk Factors” section of the 1Q19 10-Q stated, “[t]here have been no material changes
to the risk factors set forth in Part I, Item 1A of our Annual Report on Form 10-K for the year
ended December 31, 2018.”

       The 1Q19 10-Q stated, in relevant part, about the Company’s disclosure controls and
procedures:

       Our management, under the supervision of and with the participation of our Chief
       Executive Officer and Chief Financial Officer, has evaluated the effectiveness of
       our disclosure controls and procedures (as such term is defined under Rules 13a-
       15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as amended) as of
       the end of the period covered by this report. Based on such evaluation, our Chief
       Executive Officer and Chief Financial Officer each concluded that, as of March 31,
       2019, our disclosure controls and procedures were effective.

        The 1Q19 10-Q, stated in relevant part, about the Company’s internal control over financial
reporting:

       During the quarter ended March 31, 2019, the Company adopted the new lease
       standard (ASC 842). The Company updated its lease policies and implemented new
       processes, which changed the Company’s internal controls over financial reporting
       for leases and related disclosures for our current period reporting. There were no
       other changes in our internal control over financial reporting (as such term is
       defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act) during the fiscal
       quarter ended March 31, 2019 that has materially affected, or is reasonably likely
       to materially affect, our internal control over financial reporting.

        On August 6, 2019, Brookdale filed its quarterly report for the fiscal quarter ended June 30,
2019 on Form 10-Q (the “2Q19 10-Q”). The 2Q19 10-Q was signed by Swain, and contained SOX
certifications signed by Baier and Swain attesting to the accuracy of the financial statements
contained therein, the disclosure of any material changes to the Company’s internal controls, and
the disclosure of any fraud committed by the Company, its officers, or its directors.

        For the quarter, Brookdale reported net loss of $55.47 million attributable to Company
stockholders, or $0.30 per diluted share, on total revenue of approximately $1.02 billion, compared
to a net loss of approximately $165.49 million attributable to Company stockholders, or $0.88 per
diluted share, on total revenue of approximately $1.16 billion for the same quarter in the prior year.




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       Regarding “Resident Fees” for the second fiscal quarter, the 2Q19 10-Q also reported, in
relevant part, that:

       The decrease in total revenue was primarily attributable to the disposition of 124
       communities through sales of owned communities and lease terminations since the
       beginning of the prior year period, which resulted in $117.4 million less in resident
       fees during the three months ended June 30, 2019 compared to the prior year period.
       The decrease in resident fees was partially offset by a 1.9% increase in same
       community RevPAR at the 650 communities we owned or leased during both full
       periods, comprised of a 3.3% increase in same community RevPOR and a 110 basis
       points decrease in same community weighted average occupancy. Additionally,
       management services revenue, including management fees and reimbursed costs
       incurred on behalf of managed communities, decreased $41.6 million primarily due
       to terminations of management agreements subsequent to the beginning of the prior
       year period.

        With respect to “Facility Operating Expense” for the second fiscal quarter, the 2Q19 10-Q
also reported, in relevant part, that:

       The decrease in facility operating expense was primarily attributable to the
       disposition of communities since the beginning of the prior year period, which
       resulted in $80.2 million less in facility operating expense during the three months
       ended June 30, 2019 compared to the prior year period. The decrease was partially
       offset by a 5.5% increase in same community facility operating expense, which was
       primarily due to an increase in labor expense attributable to wage rate increases and
       increased use of overtime.

      With respect to “General and Administrative Expense” for the second fiscal quarter, the
2Q19 10-Q also reported, in relevant part, that:

       The decrease in general and administrative expense was primarily attributable to a
       decrease in transaction and organizational restructuring costs. Transaction and
       organizational restructuring costs decreased $4.4 million compared to the prior
       period, to $0.6 million for the three months ended June 30, 2019. Transaction costs
       include those directly related to acquisition, disposition, financing, and leasing
       activity, our assessment of options and alternatives to enhance stockholder value,
       and stockholder relations advisory matters, and are primarily comprised of legal,
       finance, consulting, professional fees and other third party costs. Organizational
       restructuring costs include those related to our efforts to reduce general and
       administrative expense and our senior leadership changes, including severance and
       retention costs. For the remainder of 2019 we expect to incur additional transaction
       costs related to stockholder relations advisory matters.

        Regarding “Costs Incurred on Behalf of Managed Communities” for the second fiscal
quarter, the 2Q19 10-Q also reported, in relevant part, that:




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       The decrease in costs incurred on behalf of managed communities was primarily
       due to terminations of management agreements subsequent to the beginning of the
       prior year period.

        The 2Q19 10-Q also advertised the Company’s supposedly excellent senior living
communities and the services they could provide to customers, stating, “[t]he Company is
committed to providing senior living solutions primarily within properties that are designed,
purpose-built, and operated to provide quality service, care, and living accommodations for
residents” and that as of June 30, 2019, the Company had “the ability to serve approximately
77,000 residents.” Further, the 2Q19 10-Q stated that the Company offers its residents “access to
a full continuum of services across the most attractive sectors of the senior living industry” and “a
supportive home-like setting, assistance with activities of daily living such as eating, bathing,
dressing, toileting, and transferring/walking[.]” Moreover, the 2Q19 10-Q asserted that “[b]y
providing residents with a range of service options as their needs change,” the Company
“provide[s] greater continuity of care.”

        The “Risk Factors” section of the 2Q19 10-Q stated, “[t]here have been no material changes
to the risk factors set forth in Part I, Item 1A of our Annual Report on Form 10-K for the year
ended December 31, 2018.”

       The 2Q19 10-Q stated, in relevant part, about the Company’s disclosure controls and
procedures:

       Our management, under the supervision of and with the participation of our Chief
       Executive Officer and Chief Financial Officer, has evaluated the effectiveness of
       our disclosure controls and procedures (as such term is defined under Rules 13a-
       15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as amended) as of
       the end of the period covered by this report. Based on such evaluation, our Chief
       Executive Officer and Chief Financial Officer each concluded that, as of June 30,
       2019, our disclosure controls and procedures were effective.

        The 2Q19 10-Q, stated in relevant part, about the Company’s internal control over financial
reporting:

       There has not been any change in our internal control over financial reporting (as
       such term is defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
       during the quarter ended June 30, 2019 that has materially affected, or is reasonably
       likely to materially affect, our internal control over financial reporting.

       On September 18, 2019, the Company filed a Schedule 14A with the SEC (the “2019 Proxy
Statement”). Baier, Bromley, Bumstead, Clegg, Johnson-Mills, Leeds, Seward, Warren, and
Wielansky solicited the 2019 Proxy Statement which contained material misstatements and
omissions.

        With respect to the Company’s Code of Conduct, the 2019 Proxy Statement stated, “[t]he
Board also has adopted a Code of Business Conduct and Ethics that applies to all employees,
directors and officers, as well as a Code of Ethics for Chief Executive and Senior Financial



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Officers, which applies to our President and Chief Executive Officer, Chief Financial Officer,
Chief Accounting Officer, Treasurer and Controller.”

        The 2019 Proxy Statement was false and misleading because, despite assertions to the
contrary, the Company’s Code of Conduct and Code of Ethics was not followed, as evidenced by
the numerous false and misleading statements alleged herein and Management’s failures to report
violations of the Code of Conduct or Code of Ethics.

        The 2019 Proxy Statement also called for stockholder approval of, among other things:
(1) the election of two directors; (2) the approval of an amendment to the Company’s Certificate
of Incorporation to facilitate implementation of a majority voting standard for uncontested
elections of directors (the “2019 First Amendment Proposal”); and (3) the approval of the
Amended and Restated 2014 Omnibus Inventive Plan (the “Plan”) which, among other things,
would: (i) replenish the number of shares of common stock available to be granted under the plan
by 5,400,000, or 2.9% of the Company’s outstanding shares of Brookdale common stock as of
September 9, 2019; (ii) amend the term of the existing plan from June 5, 2024 to the tenth
anniversary of the Annual Meeting; (iii) increase the share limitation on awards granted during
any fiscal year from 700,000 to 800,000 for restricted shares, restricted stock units, unrestricted
shares, performance awards or other stock-based awards; (iv) subject dividends or dividend
equivalents credited with respect to any award granted under the Plan to the same restrictions,
conditions and risks of forfeiture as the underlying awards; and (v) subject all equity-based awards
granted under the Plan, other than awards representing a maximum of 5% of the shares reserved
for issuance under the plan, to a minimum vesting period of at least 12 months following the grant
date (the “Incentive Proposal” and, together with the 2019 First Amendment Proposal, the “2019
Proposals” and, together with the 2018 Proposals, the “Proposals”).

         The 2019 Proxy Statement was materially false and misleading, and failed to disclose
material facts necessary to make the statements made not false and misleading. Specifically,
Management improperly failed to disclose, inter alia, that: (1) the Company’s purposeful
understaffing of its facilities as detailed herein; (2) the Company’s commercial success was
maintained by, among other things, this misconduct; (3) the Company’s purposeful understaffing
of its facilities exposed the Company to a greater chance of litigation and, in all likelihood, the
uncovering of this misconduct would have a substantial adverse effect on Brookdale’s business,
operations, prospects, and reputation; (4) consequently, Brookdale’s financial performance was
unsustainable; and (5) Brookdale failed to maintain adequate internal controls to prevent the
occurrence of this misconduct. As a result of the foregoing, the Company’s public statements were
materially false and misleading at all relevant times.

       The misrepresentations and omissions set forth herein were material to stockholders in
voting on the 2019 Proposals who would not have approved the 2019 Proposals had they been
informed about the misconduct.

       On November 5, 2019, Brookdale filed its quarterly report for the fiscal quarter ended
September 30, 2019 on Form 10-Q (the “3Q19 10-Q”). The 3Q19 10-Q was signed by Swain, and
contained SOX certifications signed by Baier and Swain attesting to the accuracy of the financial
statements contained therein, the disclosure of any material changes to the Company’s internal
controls, and the disclosure of any fraud committed by the Company, its officers, or its directors.


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        For the quarter, Brookdale reported net loss of $78.46 million attributable to Company
stockholders, or $0.42 per diluted share, on total revenue of approximately $1.01 billion, compared
to a net loss of approximately $37.12 million attributable to Company stockholders, or $0.20 per
diluted share, on total revenue of approximately $1.12 billion for the same quarter in the prior year.

       Regarding “Resident Fees” for the third fiscal quarter, the 3Q19 10-Q also reported, in
relevant part, that:

       The decrease in total revenue was primarily attributable to the disposition of 77
       communities through sales of owned communities and lease terminations since the
       beginning of the prior year period, which resulted in $63.9 million less in resident
       fees during the three months ended September 30, 2019 compared to the prior year
       period. The decrease in resident fees was partially offset by a 1.8% increase in same
       community RevPAR, comprised of a 2.8% increase in same community RevPOR
       and an 80 basis points decrease in same community weighted average occupancy.
       Additionally, management services revenue, including management fees and
       reimbursed costs incurred on behalf of managed communities, decreased $72.2
       million primarily due to terminations of management agreements subsequent to the
       beginning of the prior year period.

        With respect to “Facility Operating Expense” for the third fiscal quarter, the 3Q19 10-Q
also reported, in relevant part, that:

       The increase in facility operating expense was primarily attributable to a 7.0%
       increase in same community facility operating expense, which was primarily due
       to an increase in labor expense attributable to wage rate increases, an increase in
       employee benefit expense, and an increase in advertising, property remediation,
       and insurance costs during the period. The increase was partially offset by the
       disposition of communities since the beginning of the prior year period, which
       resulted in $47.5 million less in facility operating expense during the three months
       ended September 30, 2019 compared to the prior year period.

        Regarding “General and Administrative Expense” for the third fiscal quarter, the 3Q19 10-
Q also reported, in relevant part, that:

       The decrease in general and administrative expense was primarily attributable to a
       reduction in our corporate headcount, as we scaled our general and administrative
       costs in connection with community dispositions. The decrease was partially offset
       by a $0.7 million increase in transactional and organizational restructuring costs
       compared to the prior period, to $3.9 million for the three months ended September
       30, 2019. The increase was due to $3.4 of transaction costs related to stockholder
       relations advisory matters incurred during the three months ended September 30,
       2019. Transaction costs include those directly related to acquisition, disposition,
       financing and leasing activity, our assessment of options and alternatives to
       enhance stockholder value, and stockholder relations advisory matters, and are
       primarily comprised of legal, finance, consulting, professional fees and other third
       party costs. Organizational restructuring costs include those related to our efforts


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       to reduce general and administrative expense and our senior leadership changes,
       including severance and retention costs. For the full year 2019, we expect
       transaction costs related to stockholder relations advisory matters to be
       approximately $5.5 million, of which $3.4 million was incurred for the three
       months ended September 30, 2019.

        With regard to “Costs Incurred on Behalf of Managed Communities” for the third fiscal
quarter, the 3Q19 10-Q also reported, in relevant part, that:

       The decrease in costs incurred on behalf of managed communities was primarily
       due to terminations of management agreements subsequent to the beginning of the
       prior year period.

        The 3Q19 10-Q also advertised the Company’s supposedly excellent senior living
communities and the services they could provide to customers, stating, “ [t]he Company is
committed to providing senior living solutions primarily within properties that are designed,
purpose-built, and operated to provide quality service, care, and living accommodations for
residents” and that as of September 30, 2019, the Company had “the ability to serve approximately
75,000 residents.” Further, the 3Q19 10-Q stated that the Company offers its residents “access to
a full continuum of services across the most attractive sectors of the senior living industry” and “a
supportive home-like setting, assistance with activities of daily living such as eating, bathing,
dressing, toileting, and transferring/walking[.]” Moreover, the 3Q19 10-Q asserted that “[b]y
providing residents with a range of service options as their needs change,” the Company
“provide[s] greater continuity of care.”

        The “Risk Factors” section of the 3Q19 10-Q stated, “[t]here have been no material changes
to the risk factors set forth in Part I, Item 1A of our Annual Report on Form 10-K for the year
ended December 31, 2018.”

       The 3Q19 10-Q stated, in relevant part, about the Company’s disclosure controls and
procedures:

       Our management, under the supervision of and with the participation of our Chief
       Executive Officer and Chief Financial Officer, has evaluated the effectiveness of
       our disclosure controls and procedures (as such term is defined under Rules 13a-
       15(e) and 15d-15(e) under the Securities Exchange Act of 1934, as amended) as of
       the end of the period covered by this report. Based on such evaluation, our Chief
       Executive Officer and Chief Financial Officer each concluded that, as of September
       30, 2019, our disclosure controls and procedures were effective.

        The 3Q19 10-Q, stated in relevant part, about the Company’s internal control over financial
reporting:

       There has not been any change in our internal control over financial reporting (as
       such term is defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
       during the quarter ended September 30, 2019 that has materially affected, or is
       reasonably likely to materially affect, our internal control over financial reporting.



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       Also on November 5, 2019, the Company held an earnings call in connection to
Brookdale’s financial and operating results for the fiscal quarter ended September 30, 2019.
During the call, in reply to a question from an analyst related to “wage pressures,” Defendant Baier
responded, in pertinent part:

       Now, turning to your first question, what are we doing to deal with the wage
       pressure, probably the first and most important thing is a true focus on controlling
       overtime and contract labor. Now, we have to get to the root cause of what drove
       this up in 2019 and in Q3 in particular. One of the things that we’ve seen is it’s the
       tightest labor market in the last 50 years. And so, making sure that we've got
       appropriate staff in our communities is the most important thing that we can do.

        On February 19, 2020, the Company filed its annual report with the SEC announcing its
financial and operating results for the quarter and year ended December 31, 2019 on a Form 10-K
(the “2019 10-K”). The 2019 10-K was signed by Baier, Swain, Bromley, Bumstead, Johnson-
Mills, Sansone, Warren, Wielansky, and Freed, and contained SOX certifications signed by Baier
and Swain attesting to the accuracy of the financial statements contained therein, the disclosure of
any material changes to the Company’s internal controls, and the disclosure of any fraud
committed by the Company, its officers, or its directors.

        For the 2019 fiscal year, the Company reported a net loss of $268.5 million attributable to
Company stockholders, or $1.44 per diluted share, on total revenue of $4.06 billion, compared to
a net loss of $528.3 million attributable to Company stockholders, or $2.82 per diluted share, on
total revenue of $4.53 billion for the prior year.

       Regarding “resident fees” for the full fiscal year ended December 31, 2019, the 2019 10-
K stated, in relevant part, that:

       The decrease in total revenue was primarily attributable to the disposition of 135
       communities through sales of owned communities and lease terminations since the
       beginning of the prior year, which resulted in $336.5 million less in resident fees
       during the year ended December 31, 2019 compared to the prior year.

                                         *       *       *

       The decrease in total revenue was partially offset by a 1.9% increase in same
       community resident fee revenue and RevPAR, resulting from a 2.9% increase in
       same community RevPOR and an 80 basis points decrease in same community
       weighted average occupancy.

       Regarding “facility operating expense” for the full fiscal year ended December 31, 2019,
the 2019 10-K stated, in relevant part, that:

       The decrease in facility operating expense was primarily attributable to the
       disposition of communities since the beginning of the prior year, which resulted in
       $234.2 million less in facility operating expense during the year ended December
       31, 2019. The decrease was partially offset by a 5.1% increase in same community
       facility operating expense, which was primarily due to an increase in labor expense


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       arising from planned wage rate increases and an increase in employee benefit
       expense and increases in insurance and advertising costs compared to the prior year.

       Regarding the Company’s “General and Administrative Expense” for the full fiscal year
ended December 31, 2019, the 2019 10-K stated, in relevant part, that:

       The decrease in general and administrative expense was primarily attributable to a
       decrease in transaction and organizational restructuring costs, a reduction in our
       corporate associate headcount since the beginning of the prior year as we scaled
       our general and administrative costs in connection with community dispositions,
       and lower professional fees.

         With respect to the Company’s “Costs Incurred on Behalf of Managed Communities” for
the full fiscal year ended December 31, 2019, the 2019 10-K stated, that:

       The decrease in costs incurred on behalf of managed communities was primarily
       due to terminations of management agreements subsequent to the beginning of the
       prior year period.

        Like the Company’s previous quarterly and annual reports referenced above, the 2019 10-
K also touted the Company’s allegedly excellent customer service and senior living communities,
stating, “ [t]he Company is committed to providing senior living solutions primarily within
properties that are designed, purpose-built, and operated to provide quality service, care, and living
accommodations for residents” and that as of February 1, 2020, the Company had “the ability to
serve approximately 65,000 residents.” Further, the 2019 10-K stated that the Company offers its
residents “access to a broad continuum of services across the most attractive sectors of the senior
living industry” and “a supportive home-like setting, assistance with activities of daily living
(“ADLs”) such as eating, bathing, dressing, toileting, transferring/walking[.]” Moreover, the 2019
10-K asserted that “[b]y providing residents with a range of service options as their needs change,”
the Company “provide[s] greater continuity of care.”

       Regarding the Company’s “Operations,” the 2019 10-K stated:

       We have implemented intensive standards, policies and procedures, and systems,
       including detailed staff resources and training materials, which we believe have
       contributed to high levels of customer service. Further, we believe our centralized
       support infrastructure allows our community-based leaders and personnel to focus
       on resident care and family connections.

                                          *       *       *

       We have developed a centralized support infrastructure and services platform,
       which provides us with a significant operational advantage over local and regional
       operators of senior living communities. The size of our business also allows us to
       achieve increased efficiencies with respect to various corporate functions such as
       procurement, human resources, finance, accounting, legal, information technology,
       and marketing. We are also able to realize cost efficiencies in the purchasing of
       food, supplies, insurance, benefits, and other goods and services. In addition, we


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       have established centralized operations groups to support all of our product lines
       and communities in areas such as training, regulatory affairs, asset management,
       dining, clinical services, sales, customer engagement, marketing, and procurement.
       We have also established company-wide policies and procedures relating to,
       among other things: resident care; community design and community
       operations; billing and collections; accounts payable; finance and accounting; risk
       management; development of associate training materials and programs;
       advertising and marketing activities; the hiring and training of management and
       other community-based personnel; compliance with applicable local and state
       regulatory requirements[.]

        With respect to “Community Staffing and Training” the 2019 10-K stated, in relevant part,
the following:

       Each community has an Executive Director responsible for the overall day-to-day
       operations of the community, including quality of care and service, social services,
       and financial performance.

                                        *       *       *

       Depending upon the size and type of the community, each Executive Director is
       supported by key leaders, a Health and Wellness Director (or nursing director),
       and/or a Sales Director. The Health and Wellness Director or nursing director is
       directly responsible for day-to-day care of residents. The Sales Director oversees
       the community's sales, marketing, and community outreach programs.

       Other key positions supporting each community may include individuals
       responsible for food service, healthcare services, activities, housekeeping, and
       maintenance.

       We believe that quality of care and operating efficiency can be maximized by direct
       resident and staff contact.

       Regarding “Quality Assurance” the 2019 10-K stated, in relevant part, the following:

       We maintain quality assurance programs at each of our communities through
       our corporate and regional staff. Our quality assurance programs are designed
       to achieve a high degree of resident and family member satisfaction through the
       care and services that we provide. Our quality control measures include, among
       other things, community inspections conducted by corporate staff on a regular
       basis. These inspections cover the appearance of the exterior and grounds; the
       appearance and cleanliness of the interior; the professionalism and friendliness of
       staff; quality of resident care (including assisted living services, nursing care,
       therapy, and home health programs); the quality of activities and the dining
       program; observance of residents in their daily living activities; and compliance
       with government regulations. Our quality control measures also include the
       survey of residents and family members on a regular basis to monitor their
       perception of the quality of services we provide to residents.


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        In the “Risk Factors,” section the 2019 10-K contained general, theoretical, and boilerplate
language regarding risks related to [i]ncreased competition for, or a shortage of, personnel, wage
pressures resulting from increased competition, low unemployment levels, minimum wage
increases, changes in overtime laws, and union activity may have an adverse effect on our business,
results of operations and cash flow.” The risk warnings contained in the 2019 10-K were generic
catch-all provisions that were not fashioned to make public Brookdale’s known risks regarding the
Misconduct. Specifically, the 2019 10-K stated, in pertinent part, that the Company’s “success
depends on [Brookdale’s] ability to retain and attract qualified management and other personnel
who are responsible for the day-to-day operations of each of [Brookdale’s] communities”; that
“[i]ncreased competition for, or a shortage of, nurses, therapists, or other personnel, low levels of
unemployment, or general inflationary pressures have required and may require in the future that
[the Company] enhance [Brookdale’s] pay and benefits package to compete effectively for such
personnel”; that Company has “experienced and may continue to experience wage pressures due
to minimum wage increases mandated by state and local laws and the increase in the minimum
salary threshold for overtime exemptions under the Fair Labor Standards Act”; that the Company
“may not be able to offset the added costs resulting from competitive, inflationary or regulatory
pressures by increasing the rates [the Company] charge[s] to [Brookdale’s] residents or
[Brookdale’s] service charges, which would negatively impact [the Company’s] results of
operations and cash flow”; that “[t]urnover rates of our personnel and the magnitude of the
shortage of nurses, therapists, or other personnel varies substantially from market to market”; that,
“[i]f [the Company] fail[s] to attract and retain qualified personnel, [Brookdale’s] ability to
conduct [its] business operations effectively, [the Company’s] overall operating results and cash
flow could be harmed”; that “efforts by labor unions to unionize any of [Brookdale’s] community
personnel could divert management attention, lead to increases in [the Company’s] labor costs,
and/or reduce [its] flexibility with respect to certain workplace rules”; and that, “[i]f [the
Company] experience[s] an increase in organizing activity, if onerous collective bargaining
agreement terms are imposed upon [Brookdale], or if [Brookdale] otherwise experience[s] an
increase in [its] staffing and labor costs, [the Company’s] results of operations and cash flow would
be negatively affected.”

       The 2019 10-K stated, in relevant part, about the Company’s disclosure controls and
procedures:

       The Company maintains disclosure controls and procedures (as defined under
       Rules 13a-15(e) and 15d-15(e) of the Securities Exchange Act of 1934, as
       amended). Our management, under the supervision of and with the participation of
       our Chief Executive Officer and Chief Financial Officer, has evaluated the
       effectiveness of our disclosure controls and procedures. Based on such evaluation,
       our Chief Executive Officer and Chief Financial Officer each concluded that, as of
       December 31, 2019, our disclosure controls and procedures were effective.

        The 2019 10-K, stated in relevant part, about the Company’s internal control over financial
reporting:

       Our management is responsible for establishing and maintaining adequate internal
       control over financial reporting, as defined in Exchange Act Rule 13a-15(f). Under
       the supervision and with the participation of our management, including our Chief


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       Executive Officer and Chief Financial Officer, we conducted an evaluation of the
       effectiveness of our internal control over financial reporting based on the
       framework in Internal Control - Integrated Framework issued by the Committee of
       Sponsoring Organizations of the Treadway Commission (2013 framework).

                                         *       *       *

       Based on the Company’s evaluation, management concluded that our internal
       control over financial reporting was effective as of December 31, 2019.
       Management reviewed the results of their assessment with our Audit Committee.

                                         *       *       *

       There has not been any change in our internal control over financial reporting (as
       such term is defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
       during the fiscal quarter ended December 31, 2019 that has materially affected, or
       is reasonably likely to materially affect, our internal control over financial
       reporting.

        The 2019 10-K also contained general statements about the risk of errors in the Company’s
financial reporting. To this point, the 2019 10-K stated, “[b]ecause of its inherent limitations,
internal control over financial reporting may not prevent or detect misstatements. Therefore, even
those systems determined to be effective can only provide reasonable assurance with respect to
financial statement preparation and presentation.”

         The above statements, which Management willfully or recklessly made and/or caused the
Company to make, were materially false and misleading because they failed to disclose, inter alia:
(1) the Company intentionally underestimated data inputs that were entered into the Service
Alignment Software in a concerted effort to meet certain financial targets; (2) as a result, the
Company systematically and purposefully set daily staffing numbers and hours at Brookdale
facilities significantly below the necessary staffing levels to meet resident needs and the demand
for care in accordance with the Company’s PSAs; (3) the Company failed to permit the facility-
level employees or local facilities to adjust data inputs to the Service Alignment Software or
facility staffing levels based on known facility staffing needs; (4) as a result, the Company failed
to provide prompt and effective care and services to its residents that had been paid for; (5) as a
result, the Company was in violation of its form Residency Agreements and various state adult
care home rules and regulations; (6) the Company’s commercial success was maintained by,
among other things, this misconduct; (7) this misconduct exposed the Company to a greater chance
of litigation and, in all likelihood, the reveal of this misconduct would have a substantial adverse
effect on Brookdale’s business, operations, prospects, and reputation; (8) consequently,
Brookdale’s financial performance was untenable; and (9) Brookdale failed to maintain adequate
internal controls to prevent this misconduct. As a result of the foregoing, the Company’s public
statements were materially false and misleading at all relevant times.




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       H.      Management Further Breached Its Fiduciary Duties by Causing the Company
               to Repurchase Its Own Stock at Artificially Inflated Prices

        Management further breached their fiduciary duties by causing the Company to repurchase
its own stock at prices that were artificially inflated due to the foregoing misrepresentations.
Specifically, nearly 10.1 million shares of the Company’s common stock were repurchased
between September 2016 and March 2020 for nearly $72.5 million. As the Company stock was
actually only worth $3.12 per share, the low price it reached during trading on May 1, 2020, the
Company overpaid nearly $41.1 million in total.

II.    THE TRUTH EMERGES

         On May 3, 2019, the first of several lawsuits was filed against Brookdale captioned Bright
v. Brookdale Senior Living, Inc., No. 3:19-cv-00374-WLC-BDH (M.D. Tenn. 2019) (the “Bright
Action”), seeking damages resulting from Brookdale’s “chronically understaffed” assisted living
facilities that “routinely” failed to sufficiently serve the needs of its resident populations. On
April 24, 2020, a separate action seeking substantially similar relief as the Bright Action and
demanding Brookdale “stop the unlawful and fraudulent practices” was filed under the caption
Gunza v. Brookdale Senior Living, Inc., No. 3:20-cv-00353-WLC-BDH (M.D. Tenn. 2020) (the
“Gunza Action”). The Bright Action and Gunza Action were consolidated by court order on
June 23, 2020 (collectively, the “Consumer Class Action”).

        On April 30, 2020, Nashville Business Journal reported on the filing of the Consumer Class
Action, which accuses the Company of, among other things, purposeful “chronically insufficient
staffing” at its facilities in an effort to meet financial benchmarks since at least April 24, 2016.
According to the Consumer Class Action, Brookdale misled residents and their families when it
promised to provide basic care and daily living services. The lawsuit also claims that the proposed
class of plaintiffs “have not received the care and services they paid for.” Finally, the article
revealed that the Company had established lucrative incentive programs that were connected to
satisfying or surpassing the Company’s financial performance targets to induce employees to keep
staffing expenses within budget, regardless of need.

       On this news, Brookdale’s stock price fell $0.56 per share, or 15.22%, over two trading
sessions, closing at $3.12 per share on May 1, 2020.

         In addition, on June 25, 2020, the Company, along with the Company’s Chief Executive
Officer (“CEO”), its former CEO, and its Chief Financial Officer (“CFO”), was also named as a
defendant in a federal securities fraud class action lawsuit currently pending in the United States
District Court for the Middle District of Tennessee captioned Posey v. Brookdale Senior Living
Inc. et al., No. 3:20-cv-00543 (the “Securities Class Action”).

III.   MANAGEMENT’S FIDUCIARY DUTIES OWED TO THE COMPANY

        In Delaware, it is well-established that directors “owe fiduciary duties of care and loyalty”
to the Company. Gantler v. Stephens, 965 A.2d 695, 708–09 (Del. 2009). In addition, directors
owe a fiduciary duty of disclosure, which is derived from the foregoing duties. Pfeffer v. Redstone,
965 A.2d 676, 684 (Del. 2009) (“[c]orporate fiduciaries can breach their duty of disclosure” by



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affirmatively making a “false statement, by omitting a material fact, or by making a [misleading]
partial disclosure”).

        The Delaware Supreme Court has made clear that corporate officers and directors must
take their duties seriously or face the consequences for not doing so:

       Loyalty. Good faith. Independence. Candor. These are words pregnant with
       obligation. The Supreme Court did not adorn them with half-hearted adjectives.
       Directors should not take a seat at the board table prepared to offer only conditional
       loyalty, tolerable good faith, reasonable disinterest or formalistic candor. It is
       against these standards, and in this spirit, that the alleged actions of [improper
       conduct] . . . should be judged.

In re Tyson Foods, Inc., No. CIV.A. 1106-CC, 2007 WL 2351071, at *4 (Del. Ch. Aug. 15, 2007).

        As described herein, Management breached their fiduciary duties of care and loyalty (as
well as their related duty of disclosure) to the Company by purposefully understaffing the
Company’s facilities in violation of its form Residency Agreements in order to avoid systemic
defaults on the Company’s massive debt and lease obligations, as detailed herein.

IV.    DAMAGE TO BROOKDALE

        As a result of the misconduct described herein, the Company has, and will continue to,
suffer immense economic and reputational harm, including, but not limited to, a significant loss in
market capitalization, compromised financial integrity, and irreparable damage to its credibility in
the business community and financial marketplace. As with any public entity, the Company will
pursue future debt and equity offerings to finance its operations, and because of the misconduct, if
left unpunished, the Company will suffer from the liars’ discount and will be forced to conduct
offerings on less favorable terms for the Company, which will only hinder the Company’s future
financing efforts.

       To date, as a result of Management’s misconduct, Brookdale has been and will continue to
be forced to expend millions of dollars. Such losses include, but are not limited to:

       1.      Costs incurred in connection with being named a defendant in the federal Consumer
               Class Action, including the defense and settlement of or judgement in the litigation;

       2.      Costs incurred in connection with being named a defendant in the Securities Class
               Action, including the defense and settlement of or judgement in the litigation, as
               well as any other related litigation based on the same facts;

       3.      Expenditures stemming from the need to undertake internal investigations into the
               misconduct detailed herein;

       4.      Costs associated with the Company’s overpayment by nearly $41.1 million for its
               own stock while the Company’s stock price was artificially inflated due to the false
               and misleading statements discussed herein; and



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        5.     Costs incurred in connection with the lavish and unjustified compensation and
               benefits paid to Management while they were actively breaching their fiduciary
               duties to the Company, including bonuses tied to the Company’s attainment of
               certain objectives.

        Thus, in accordance with its fiduciary duties, the Board is obligated to bring an action
against Management and vindicate the Company’s rights and redress the harm done.

V.      STOCKHOLDER’S DEMAND PURSUANT TO DEL. CT. CH. R. 23.1

        Based on these events, the Stockholder contends that Management breached its fiduciary
duties of loyalty and good faith and violated other applicable laws by compromising patient care
through the intentional understaffing of Brookdale’s facilities, causing damage to Brookdale.
Specifically, as a result of the misconduct described herein, Management appears to have violated
federal securities laws and SEC rules and regulations. As a result of their misconduct, the
Company now possesses valuable claims against these individuals for breaching their fiduciary
duties, aiding and abetting breaches of fiduciary duties, indemnification and contribution for any
monies paid, or to be paid, by the Company as a result of this misconduct, including any settlement
or judgment in the Securities Class Action.

        The foregoing is not intended to be an exhaustive list of every law, rule, regulation, or
policy implicated by Management’s misconduct; rather, it appears likely that, by their conduct,
some or all of Management, and potentially others, may have violated additional laws, rules, and
regulations.

        The Company should not have to bear the enormous financial burden caused by the
misdeeds of Management who have breached their fiduciary duties and violated state and federal
laws. Accordingly, pursuant to Delaware law, on behalf of the Stockholder, we hereby demand
that the Board: (i) undertake (or cause to be undertaken) an independent internal investigation into
Management’s violations of Delaware and/or federal law;2 and (ii) commence a civil action against
each member of Management (and any others who may be similarly liable for breach of fiduciary
duty of care, breach of fiduciary duty of loyalty, aiding and abetting breaches of fiduciary duties,
contribution, and indemnification against Management) to recover for the benefit of the Company
the amount of damages sustained by the Company as a result of their breaches of fiduciary duties
alleged herein.

       Furthermore, the Stockholder demands that the Company’s Board take additional
affirmative action to redress the wrongs described herein and prevent such wrongdoing from
occurring again in the future. Such measures include, but are not limited to, the following:

        •      the Board should require Management to account to the Company for all damages
               sustained, or to be sustained, by the Company by reason of the wrongs and

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  Any complete and thorough investigation must include a full investigation of the facts alleged in
any related litigation including, without limitation, the allegations detailed in the complaints filed
in the Securities Class Action. If an additional pleading is filed in the Securities Class Action, or
any related or similar litigation, any additional allegations must also be thoroughly investigated.


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               misconduct complained of herein, and should make certain that no Company funds
               are used towards any settlement or resolution of the Securities Class Action or any
               related or similar litigation;

       •       the Board should terminate, for cause, any Company employee responsible for the
               wrongdoing discussed herein;

       •       the Board should require Management to return to the Company all salaries,
               bonuses, and the value of other remuneration of whatever kind paid to them during
               the time they were in breach of their fiduciary duties;

       •       the Board should require Management to pay interest, at the highest rate allowable
               by law, on the amount of damages sustained by the Company as a result of their
               culpable conduct; and

       •       the Board should adopt and implement internal controls and systems at the
               Company and its subsidiaries, as well as corporate governance reforms, to ensure
               that the improper and illegal conduct complained of herein is not permitted to occur
               in the future.

        We trust the Board, consistent with its fiduciary duties of care and loyalty, will undertake
the actions demanded above promptly.

        Please confirm, as soon as possible, but no later than 30 days from the date of this letter,
that a copy of this letter was provided to each member of the Board. As part of your response,
please disclose whether the Company has commenced an independent investigation into the
serious misconduct set forth herein. Please also state who has been appointed to conduct any such
investigation, whether they have retained outside counsel (and if so, who), and the scope of their
authority.

        Pursuant to Delaware law, if within a reasonable time after receipt of this letter the Board
has not commenced an action as demanded herein, the Stockholder will commence a stockholder’s
derivative action on behalf of the Company seeking appropriate relief.

                                                   Sincerely,




                                                   Michael I. Fistel, Jr.

                                                   JOHNSON FISTEL, LLP




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